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   7                                          Causemetics, Inc.
   8

   9
                             UNITED STATES DISTRICT COURT
  10
                            CENTRAL DISTRICT OF CALIFORNIA
  11

  12
        THRIVE NATURAL CARE, INC.,          Case No. 2:20-CV-9091-PA-AS
  13
                        Plaintiff,          AMENDED DEPOSITION
  14                                        DESIGNATIONS
              v.
  15                                        Hon. Percy Anderson
        THRIVE CAUSEMETICS, INC.,           United States District Court Judge
  16                                        Trial Date: November 9, 2021
                        Defendant.          Time: 9:00 a.m.
  17                                        Courtroom: 9A, 350 W. 1st Street, 9th
                                            Floor, Los Angeles, California 90012
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                                                             AMENDED DEPO. DESIGNATIONS
                                                               CASE NO. 2:20-CV-09091-PA-AS
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   1         Pursuant to the Court’s Civil Trial Scheduling Order (ECF No. 19) and the
   2   Court’s October 7, 2021, Minute Order (ECF No. 115), Plaintiff Thrive Natural
   3   Care, Inc. and Defendant Thrive Causemetics, Inc. submit the attached Amended
   4   Deposition Designations.
   5

   6   Dated: October 15, 2021              Respectfully submitted,
   7                                        THE MCARTHUR LAW FIRM, PC
   8
                                            By /s/ Stephen McArthur
   9
                                            Stephen C. McArthur
  10                                        Thomas E. Dietrich
  11                                        Attorneys for Plaintiff Thrive Natural Care,
                                            Inc.
  12

  13
       Dated: October 15, 2021              Respectfully submitted,
  14

  15                                        SIDLEY AUSTIN LLP
  16
                                            By /s/ Rollin Ransom
  17
                                            Rollin Ransom
  18
                                            Attorneys for Defendant Thrive Causemetics,
  19                                        Inc.
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                                                                AMENDED DEPO. DESIGNATIONS
                                                                  CASE NO. 2:20-CV-09091-PA-AS
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   1                   ATTESTATION UNDER LOCAL RULE 5-4.3.4
   2         I, Thomas Dietrich, am the ECF User whose ID and password are being used
   3   to file this document. In compliance with Local Rule 5-4.3.4(a)(2), I hereby attest
   4   that Rollin Ransom has concurred in this filing.
   5

   6   Dated: October 15, 2021
   7                                             /s/ Thomas Dietrich
                                                 Thomas Dietrich
   8

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                                                                  AMENDED DEPO. DESIGNATIONS
                                                                    CASE NO. 2:20-CV-09091-PA-AS
                                                 -2-
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                AMENDED DEPOSITION DESIGNATIONS TABLE


CASE:2:20-cv-09091-PA-AS                   TRIAL DATE: Nov. 9, 2021, 9:00 a.m.


Deposition Designation                                    Objection & Response

Plaintiff’s Designation of Karissa Bodnar Rule 30(b)(6) Deposition
Plaintiff’s Designation of K. Bodnar 30(b)(6) (8:12-14)

Page 8
12    Q.    Good morning. Could you please state
13          your full name for the record.
14    A.    Karissa Elizabeth Bodnar.

Plaintiff’s Designation of K. Bodnar 30(b)(6) (15:8-20)

Page 15
8     Q.    Let's talk a little bit about
9           your background with TCI. What is your
10          position within TCI?
11    A.    I am the founder and CEO.
12    Q.    Have you always had that
13          position?
14    A.    Yes.
15    Q.    Did you start TCI?
16    A.    Yes.
17    Q.    When?
18    A.    2015. I apologize. 2014.
19    Q.    When in 2014?
20    A.    I don't recall.

Plaintiff’s Designation of K. Bodnar 30(b)(6) (15:24-
16:5)

Page 15
24    Q.    Did TCI sell products in 2014?
                                          1
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25    A.    I believe we sold products
Page 16
1           beginning in September of 2014.
2     Q.    What products did you start
3           selling in 2014?
4     A.    False lashes and lash
5           adhesive.

Plaintiff’s Designation of K. Bodnar 30(b)(6) (22:16-20)

Page 22
16    Q.    Does TCI sell color cosmetics?
17    A.    Yes.
18    Q.    What does the term "color
19          cosmetics" mean?
20    A.    Makeup.

Plaintiff’s Designation of K. Bodnar 30(b)(6) (23:15-20)

Page 23
15    Q.    When did TCI start selling color
16          cosmetics?
17    A.    2015.
18    Q.    Who made the decision to expand
19          from false eyelashes to color cosmetics?
20    A.    Me.

Defendant’s Counter-Designation of Karissa Bodnar
(23:21-24):

Page 23
21    Q.    And why did you make that
22          decision?
23    A.    Because our customers and
24          giving partners asked for them.

Plaintiff’s Designation of K. Bodnar 30(b)(6) (23:25-
24:2)


                                           2
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Page 23
25    Q.    And what color cosmetics did TCI
Page 24
1           start with?
2     A.    Eyeliner.

Plaintiff’s Designation of K. Bodnar 30(b)(6) (24:21-
25:7

Page 24
21    Q.    You said that in 2015 TCI started
22          selling eyeliner; is that right?
23    A.    Yes.
24    Q.    And did TCI at some point start
25          selling other color cosmetics?
Page 25
1     A.    Yes.
2     Q.    When did it expand from eyeliner
3           to something else?
4     A.    I believe it was July of 2015.
5     Q.    And what did TCI start selling
6           then?
7     A.    Browliner.

Defendant’s Counter-Designation of Karissa Bodnar
(25:14-23):

Page 25
14    Q.    What came next after browliner in
15          the color cosmetics category?
16    A.    To the best of my
17          recollection, it was Triple Threat Color
18          Stick.
19    Q.    And when was that released?
20    A.    I don't recall the specific
21          date.
22    Q.    Do you recall the year?
23    A.    It was either 2015 or 2016.


                                           3
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Plaintiff’s Designation of K. Bodnar 30(b)(6) (25:24-
26:15)

Page 25
24    Q.     Does TCI sell skincare products?
25    A.     Yes.
Page 26
1     Q.     What does the term "skincare
2            products" mean?
3     A.     Products that you use on your
4            skin.
5     Q.     And on TCI's website, there's a
6            tab labeled Skincare, right?
7     A.     To the best of my knowledge, I
8            believe so.
9     Q.     And are the products listed under
10           that tab Skincare Products?
11    A.     I don't know.
...
14    (Exhibit No. 10 marked for
15    identification.)

Plaintiff’s Designation of K. Bodnar 30(b)(6) (26:25-
27:16)

Page 26
25    Q.    Do you recognize had the URL
Page 27
1           thrivecausemetics.com?
2     A.    Yes.
3     Q.    Does Thrive Causemetics have an
4           All Skincare page?
5     A.    From this, yes.
6     Q.    Do you recognize these products?
7     A.    Yes.
8     Q.    Are these products that TCI has
9           sold?
10    A.    Yes.
11    Q.    Are these skincare products?

                                           4
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12    A.    Yes.
...
15    (Exhibit No. 11 marked for
16    identification.)

Plaintiff’s Designation of K. Bodnar 30(b)(6) (27:24-
28:16)

Page 27
24    Q.    Are you familiar with the Thrive
25          Causemetics website?
Page 28
1     A.    Yes.
2     Q.    Are these the skincare products
3           for sale on Thrive Causemetics's website?
4     A.    Some of them, yes.
5     Q.    Would these have been products
6           for sale as of September 21st, 2020?
7     A.    To the best of my knowledge,
8           yes.
9     Q.    And do you see at the top, these
10          are listed under All Skincare Products?
11    A.    I see that it says All
12          Skincare Products.
13    Q.    Is that something that was added
14          to TCI's website by TCI?
15    A.    To the best of my knowledge,
16          yes.

Plaintiff’s Designation of K. Bodnar 30(b)(6) (29:9-
30:15)

Page 29
9     Q.    Are any of the products on this
10          page in Exhibit 11 considered color
            cosmetics?
11    A.    Yes.
12    Q.    Which ones?
13    A.    On page 1, Pumpkin Spice Latte
                                           5
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14          Liquid Balm Lip Treatment, and then it
15          looks like the product name is cut off,
16          but it's also -- the product right below
17          the Pumpkin Spice Latte, which is called
18          Liquid Balm.
19    Q.    So those would be considered
20          color cosmetics?
21    A.    They could be, yes.
22    Q.    Could they be considered skincare
23          products?
24    A.    Yes.
25    Q.    How about the other products on
Page 30
1           Exhibit 11? Would those be considered
2           skincare products?
3     A.    They could be. The one that
4           would not be is hand sanitizer.
5     Q.    What category would that fall
6           into?
7     A.    I don't know.
8     Q.    Is it listed on TCI's website as
9           a skincare product?
10    A.    Yes.
11    Q.    And the two lip balms on the
12          first page, are those listed on Thrive
13          Causemetics' website as skincare products?
14    A.    To the best of my knowledge,
15          yes.

Defendant’s Counter-Designation of Karissa Bodnar
(30:16-20):

Page 30
16    Q.    Why do you say that those two
17          could be considered color cosmetics?
18    A.    Because they enhance your --
19          the appearance of your lips the same way
20          that a lip gloss would.


                                         6
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 Plaintiff’s Designation of K. Bodnar 30(b)(6) (33:3-       Defendant’s Objections:
 35:14)
                                                            Page 34:3-4, 11-12: Asked
 Page 33                                                    and answered, Fed. R. Evid.
 3     Q.    Is lotion a skincare product?                  611(a)
 ...
 7     A.    Yes.                                           Plaintiff’s Response:
 ...
 9     Q.    Is moisturizer a skincare                      Question does not waste
 10          product?                                       time or harass or unduly
 ...                                                        embarrass the witness. No
 14    A.    It truly depends.                              basis to strike under FRE
 15    Q.    What does it depend on?                        611(a).
 16    A.    The type of moisturizer it is.
 17    Q.    Can you explain that a little
 18          bit?
 19    A.    There are moisturizers that
 20          have pigment in them.
 21    Q.    Are those considered skincare
 22          products if they have pigment in them?
 23    A.    It truly depends.
 24    Q.    Does TCI sell any pigmented
 25          moisturizer?
 Page 34
 1     A.    It really depends on an
 2           individual's definition.
 3     Q.    Does TCI sell any pigmented
 4           moisturizer?
 ...
 11    A.    It truly depends on
 12          a person's definition.
 ...
 14    Q.    On the definition of what?
 15    A.    Moisturizer.
 16    Q.    Looking at the second page, third
 17          page of Exhibit 11, there's a product called
 18          Defying Gravity Transforming Moisturizer.
 19          Do you see that?
 20    A.    Yes.

                                             7
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 21    Q.    Is that a moisturizer?
 22    A.    Yes.
 23    Q.    What makes it a moisturizer?
 24    A.    In simple terms, it
 25          moisturizes the skin.
 Page 35
 1     Q.    And to TCI that makes this a
 2           moisturizer?
 3     A.    Not exclusively.
 4     Q.    I'm afraid I don't understand
 5           what you mean by not exclusively. Can
             you
 6           explain?
 7     A.    Our products do more than just
 8           one thing.
 9     Q.    Does this product Defying Gravity
 10          Transforming Moisturizer moisturize skin?
 11    A.    Yes.
 12    Q.    And so TCI considers it a
 13          moisturizer?
 14    A.    Yes.

 Defendant’s Counter-Designation of Karissa Bodnar
 (35:22-36:2):

 Page 35
 22    Q.    Does TCI have any other products
 23          that moisturize skin that do have pigment in
 24          them?
 25    A.    All color cosmetics, all

 Page 36
 1           topical products do something to the skin,
 2           but it depends on the consumer's skin.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (36:3-
 37:10)

 Page 36
                                            8
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 3     Q.    Is a cream considered a skincare
 4           product?
 ...
 6     A.    It depends.
 ...
 8     Q.    Do you know what a cream is?
 9     A.    No because it can be defined
 10          many different ways.
 11    Q.    So the term "cream" doesn't have
 12          a specific definition?
 13    A.    No.
 14    Q.    Does lotion have a specific
 15          definition?
 ...
 18    A.    No.
 ...
 20    Q.    Is a cleanser considered a
 21          skincare product?
 22    A.    To the best of my knowledge,
 23          yes.
 24    Q.    How about a balm? Is that
 25          considered a skincare product?
 Page 37
 1     A.    Not exclusively.
 2     Q.    Is it considered a skincare
 3           product and considered something else as
             well?
 4     A.    Yes.
 5     Q.    What else would a balm be
 6           considered?
 7     A.    It could be considered -- to
 8           the best of my knowledge, it could be
 9           considered a hair care product, a color
 10          cosmetic product.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (37:24-
 38:19)

 Page 37

                                            9
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 24    Q.    Are there any specific
 25          characteristics that make up a balm?
 Page 38
 ...
 3     A.    I don't know.
 ...
 5     Q.    Does TCI sell any balms?
 6     A.    We have a product that is
 7           named Liquid Balm.
 8     Q.    Does TCI consider that to be a
 9           balm?
 10    A.    No.
 11    Q.    Why not?
 12    A.    It's a lip product by our
 13          definition.
 14    Q.    Yet, you called the product a
 15          balm?
 16    A.    That's a part of the name.
 17    Q.    When did TCI first have the idea
 18          that it may sell skincare products?
 19    A.    I don't know.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (39:15-
 40:1)

 Page 39
 15    Q.    When did TCI first begin planning
 16          to sell skincare products?
 ...
 19    A.    I don't recall the
 20          specific time.
 ...
 22    Q.    Do you recall if it was 2015?
 23    A.    I don't recall.
 24    Q.    Who decided TCI should sell
 25          skincare products?
 Page 40
 1     A.    Me.


                                             10
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 Defendant’s Counter-Designation of Karissa Bodnar
 (40:2-4):

 Page 40
 2     Q.    Why did you reach that decision?
 3     A.    Our customers requested that
 4           we create them.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (42:1-43:1)

 Page 42
 1     Q.    What social media does TCI use?
 2     A.    One example would be Facebook.
 3     Q.    Does TCI use Instagram?
 4     A.    Yes.
 5     Q.    Is TCI on any other social media?
 6     A.    Yes.
 7     Q.    Which ones?
 8     A.    TickTok.
 9     Q.    Any others?
 10    A.    Yes. To the best of my
 11          knowledge, Snapchat.
 12    Q.    When was the decision made to go
 13          forward with expanding into skincare
             products?
 14    A.    I don't recall the specific
 15          date.
 16    Q.    Do you recall the approximate
 17          date?
 18    A.     No.
 ...
 21    Q.    At some point TCI did decide to
 22          expand into skincare products?
 23    A.    Correct. Yes.
 24    Q.    And TCI did start selling
 25          skincare products after that time?
 Page 43
 1     A.    Yes.


                                           11
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 Defendant’s Counter-Designation of Karissa Bodnar
 (43:2-5):

 Page 43
 2     Q.    What considerations went into the
 3           decision to start selling skincare products?
 4     A.    To serve our customers and
 5           giving partners.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (43:9-14)

 Page 43
 9     Q.    Sure. Did TCI consider whether
 10          it could make money selling skincare
             products?
 11    A.    Yes.
 12    Q.    Who was involved in those
 13          considerations?
 14    A.    Me.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (43:20-
 44:1)

 Page 43
 20    Q.    Who was involved in the decision
 21          to expand into the skincare products?
 22    A.    Me and our customers.
 23    Q.    Anyone else from TCI?
 24    A.    Ned Menninger.
 25    Q.    Anyone else?
 Page 44
 1     A.    No.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (45:3-46:9)

 Page 45
 3     Q.    Who was involved in the process
 4           of coming to the decision to sell skincare
 5           products?
                                            12
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 6     A.    Our customers, me, Ned
 7           Menninger.
 8     Q.    Anyone else?
 9     A.    I don't know. I don't recall.
 10    Q.    When did TCI actually start
 11          selling skincare products?
 12    A.    To the best of my knowledge,
 13          2018.
 14    Q.    Do you know when in 2018?
 15    A.    It was in the second half of
 16          2018, to the best of my knowledge.
 17    Q.    What skincare products did TCI
 18          first sell?
 19    A.    Overnight Sensation.
 20    Q.    Anything else?
 21    A.    To the best of my knowledge,
 22          it was Overnight Sensation.
 23    Q.    Has TCI expanded its skincare
 24          line since then?
 25    A.    Yes.
 Page 46
 1     Q.    What products were added o the
 2           skincare line?
 3     A.    Defying Gravity Moisturizer.
 4     Q.    When was that added?
 5     A.    Could you be more specific
 6           about what you mean when you say
             "added"?
 7     Q.    Sure. I mean, when the product
 8           was released to the public.
 9     A.    2020.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (47:5-49:2)

 Page 47
 5     Q.    In 2020, did TCI add any skincare
 6           products to its line?
 7     A.    Yes.
 8     Q.    Which products were those?

                                           13
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 9     A.    A few of them would be Defying
 10          Gravity Moisturizer, Defying Gravity Eye
 11          Cream, Bright Balance Cleanser.
 12    Q.    A little bit ago we talked about
 13          a cream. Is there anything specific about
 14          Defying Gravity Eye Cream that made TCI
             call
 15          it a cream?
 16    A.    In the market, eye products
 17          that perform like Defying Gravity Eye
 18          Cream are often called eye cream.
 19    Q.    Is that a specific definition or
 20          just something TCI chose?
 21    A.    In the beauty industry,
 22          there's not really a specific definition,
 23          I would say.
 24    Q.    Has the skincare market been
 25          profitable for TCI?
 Page 48
 1     A.    Yes.
 2     Q.    Does TCI have plans to continue
 3           its skincare offering?
 4     A.    Yes.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (48:21-
 49:2)

 Page 48
 21    Q.    Has TCI continued to expand its
 22          skincare product line after the lawsuit being
 23          filed by Thrive Natural Care?
 ...
 Page 49
 1     A.    To the best of my
 2           knowledge, yes.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (49:10-
 50:10)


                                           14
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 Page 49
 10    (Exhibit No. 12 marked for
 11    identification.)
 ...
 17    Q.     Ms. Bodnar, do you have
 18           Exhibit 12 in front of you?
 19    A.     Yes.
 20    Q.     Do you recognize this exhibit?
 21    A.     Yes.
 22    Q.     What does it show?
 23    A.     It shows Smart
 24           Microdermabrasion 2-in-1 Instant Facial.
 25    Q.     Is that a TCI skincare product?
 Page 50
 1     A.     Yes.
 2     Q.     It has a launch date of
 3            February 24th, 2021.
 4            Do you see that?
 5     A.     Yes.
 6     Q.     Was that when this product was
 7            released to the public?
 8     A.     I believe so. It would have
 9            been within weeks or months, if that's not
 10           the exact date.

 Defendant’s Counter-Designation of Karissa Bodnar
 (56:15-22):

 Page 56
 15    Q.    Do you have a main site?
 16    A.    Yes, thrivecausemetics.com.
 17    Q.    Has that always been TCI's main
 18          site?
 19    A.    Yes.
 20    Q.    When did that site go live?
 21    A.    To the best of my memory, it
 22          was 2014.



                                            15
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 Plaintiff’s Designation of K. Bodnar 30(b)(6) (57:19-
 58:1)

 Page 57
 19    Q.    Before you started those efforts,
 20          did you do any kind of search to see if the
 21          Thrive Causemetics name was in use by any
 22          other entity?
 23    A.    I don't remember. I don't
 24          recall.
 25    Q.    You may have?
 Page 58
 1     A.    I don't recall.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (58:14-
 59:11)

 Page 58
 14    Q.    During those
 15          years, 2013 and 2014, did you ever do any
             kind
 16          of check to see if there were any other
 17          entities using Thrive or Causemetics in
 18          similar markets?
 19    A.    From that time, I don't
 20          recall.
 21    Q.    Do you know if you did a Google
 22          search for other companies with similar
             names?
 23    A.    I don't recall.
 24    Q.    Do you know if you checked the
 25          trademark database for companies with a
 Page 59
 1           similar name?
 2     A.    Are you asking about 2013 or
 3           2014?
 4     Q.    Yes.
 5     A.    I don't recall.
 6     Q.    Did you ask anyone else to do

                                           16
Case 2:20-cv-09091-PA-AS Document 132 Filed 10/15/21 Page 20 of 124 Page ID #:6501




 7           searches like that during the 2013-2014 time
 8           period?
 9     A.    It would have been -- it would
 10          have been only me at the time, so no, to
 11          the best of my memory.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (78:15-      Defendant’s Objections:
 79:4)
                                                            Page 78:15-79:4: Irrelevant,
 Page 78                                                    Fed. Evid. 401, 402;
 15    Q.    In that 2014-2015 time period,                 Prejudicial, Fed. R. Evid.
 16          did you pitch retailers to carry Thrive        403 (long predates sale of
 17          Causemetics products?                          skincare products)
 18    A.    I did, yes.
 19    Q.    Who and what retailers did you                 Plaintiff’s Response:
 20          make pitches too?
 21    A.    I am smiling because I was                     Questions lay foundation
 22          very unsuccessful in pitching those            for subsequent questions
 23          retailers. I don't even know if I got          and document
 24          responses from my emails that I sent.          demonstrating Ms. Bodnar
 25          But I was trying to get the                    pitched products to Sephora
 Page 79                                                    which referred to Defendant
 1           brand carried. I had -- my dream at the        as “Thrive” alone and
 2           time was to have the products carried at       included planned expansion
 3           Nordstrom or Sephora, a retailer like          into skincare market in
 4           that. I was unsuccessful in that, though.      2016, contrary to her
                                                            statements made to
                                                            Plaintiff’s CEO around the
                                                            same time.
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (82:21-
 83:10)

 Page 82
 21    Q.    Were there any other channels
 22          through which TCI products were sold?
 23    A.    Not intentionally, no.
 24    Q.    What do you mean by not
 25          intentionally?
 Page 83
                                            17
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 1     A.    People can purchase our
 2           products and then resell them on websites
 3           that we don't authorize.
 4     Q.     Does that happen from time to
 5           time?
 6     A.    Unfortunately, yes. And we --
 7           an example would be, like, an Amazon. We
 8           don't authorize that our products are sold
 9           on Amazon and quite honestly can't even
 10          verify whether it's our product or not.

 Defendant’s Counter-Designation of Karissa Bodnar
 (83:11-16):

 Page 83
 11    Q.    Does TCI sell products itself on
 12          Amazon?
 13    A.    We do not, no.
 14    Q.    Has it ever?
 15    A.    To the best of my knowledge,
 16          no.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (86:13-
 87:1)

 Page 86
 13    Exhibit No. 16 marked for
 14    identification.)
 ...
 16    Q.     Ms. Bodnar, do you have
 17           Exhibit 16 in front of you?
 18    A.     Let me just move my screen.
 19    Q.     Sure.
 20    A.     Yes.
 21    Q.     Do you recognize this exhibit?
 22    A.     If it looks like a product
 23           list.
 24    Q.     Was this prepared for this case?
 25    A.     At the top it says, Thrive
                                            18
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 Page 87
 1           Causemetics, Inc., so I would believe so.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (87:7-
 89:22)

 Page 87
 7     Q.    I'm going to ask you about the
 8           columns in the document first.
 9           There's a column that says First
 10          Sale.
 11          Do you see that?
 12    A.    Yes.
 13    Q.    What does that mean on this
 14          document?
 15    A.    I believe, to the best of my
 16          knowledge, it would mean the first time we
 17          sold it on thrivecausemetics.com.
 18    Q.    And the price, that's the price
 19          of that first sale?
 20    A.    Without reviewing all of
 21          these, to the best of my knowledge, I
 22          believe that yes, that would be first
 23          price point.
 24    Q.    And it looks -- I guess, can you
 25          describe to me what the Channel column
             means,
 Page 88
 1           if you know?
 2     A.    Yes. It's the channel in
 3           which it's sold.
 ...
 10    A.    But yes. The channel would
 11          be -- it looks like they're all labeled as
 12          our online store.
 13    Q.    Each of these would be considered
 14          a SKU that TCI has sold?
 15    A.    Yes.
 Page 88

                                              19
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 20   Q.    On the third page, there's a
 21         product called Buildable Blur CC Cream.
            Do
 22         you see a there's a number of listings for
 23         that?
 ...
 Page 89
 1     Q.   Oh, yes, I do.
 ...
 4     Q.   What is Buildable Blur CC Cream?
 5     A.   Buildable Blur CC Cream is
 6          defined as a CC cream, which is a product
 7          that -- I actually have it on today. It's
 8          on -- it's right here on my face.
 9     Q.   What is a CC cream?
 10    A.   A CC cream is a product that
 11         covers up imperfections, evens out your
 12         skin tone.
 13    Q.   And does it moisturize the skin?
 14    A.   Depending on the skin type,
 15         yes.
 16    Q.   Is it advertised by TCI as a
 17         moisturizer?
 18    A.   I don't recall.
 19    Q.   And the product description is
 20         broad spectrum SPF 35. Is this product a
 21         sunscreen as well?
 22    A.   It does have sunscreen in it.

 Defendant’s Counter-Designation of Karissa Bodnar
 (92:23-93:2; 93:13-21):

 Page 92
 23    Q.   Would Buildable Blur be
 24         considered a skincare product?
 25    A.   I personally think of

 Page 93
 1          Buildable Blur CC Cream as more of a

                                          20
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 2           makeup product.

 13    Q.    Do you consider Buildable Blur a
 14          makeup product?
 15    A.    Yes.
 16    Q.    Why is that?
 17    A.    Because of pigment that's in
 18          it. It's shaded. So currently we have 18
 19          shades. And it really is helping to
 20          improve the appearance of the skin from
 21          a -- the same way makeup would.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (98:19-      Defendant’s Objections:
 100:9)
                                                            Page 99:3-100:9: Irrelevant,
 Page 98                                                    Fed. Evid. 401, 402;
 19    (Exhibit No. 17 marked for                           Prejudicial, Fed. R. Evid.
 20    identification.)                                     403 (long predates sale of
 ...                                                        skincare products)
 Page 99
 3     Q.     Okay. Do you have Exhibit 17 in               Plaintiff’s Response:
 4            front of you?
 5     A.     Yes.                                          Ms. Bodnar emailed
 6     Q.     Starting with the first page,                 Plaintiff in 2016 claiming
 7            it's an email from you to Jennifer Cohen at   her company only sold color
 8            Sephora. Do you see that?                     cosmetics and would always
 9     A.     Yes.                                          use the term “Thrive”
 10    Q.     Do you recognize the document                 together with the term
 11           that is Exhibit 17?                           “Causemetics”. This
 12    A.     I recognize that it's from my                 document, from around the
 13           email to Jennifer Cohen.                      same time as Ms. Bodnar’s
 14    Q.     The following attachment is a                 email, is relevant to
 15           slide show, do you recognize that slide       demonstrate: (1) date of
              show?                                         Defendant’s plans to expand
 16    A.     I am scrolling through it.                    into skincare market and
 17    Q.     Okay.                                         Defendant’s frequent use of
 18    A.     Yes.                                          the term “Thrive” alone to
 19    Q.     What is this document?                        refer to its company, both of
 20    A.     This looks like a presentation                which contradict statements

                                            21
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 21          -- based on this email, it looks like a        made by Ms. Bodnar to
 22          presentation that we were trying to make       Plaintiff; (2) Ms. Bodnar
 23          to Sephora.                                    hid information concerning
 24    Q.    And you mentioned that earlier in              expansion plans from
 25          the deposition, right, that you pitched to     Plaintiff in 2016 email,
 Page 100                                                   supporting Plaintiff’s
 1           Sephora?                                       opposition to laches
 2     A.    Yes.                                           defense; and (3)
 3     Q.    Did you create this presentation?              Defendant’s long used the
 4     A.    I don't recall.                                term “Thrive” alone to refer
 5     Q.    Do you know who else would have                to itself supports a finding
 6           been involved in creating this presentation?   of false designation of
 7     A.    It was -- I am just looking at                 origin or infringement based
 8           the email date. It would have been             on confusion as to the
 9           somebody at Thrive Causemetics.                affiliation of the parties,
                                                            which have both been
                                                            known by the name
                                                            “Thrive” for years.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (100:14-     Defendant’s Objections:
 102:12)
                                                            Page 100:14-101:14:
 Page 100                                                   Irrelevant, Fed. Evid. 401,
 14    Q.    Do you recall sending it to                    402; Prejudicial, Fed. R.
 15          someone at Sephora?                            Evid. 403 (long predates
 16    A.    Other than the seeing the date                 sale of skincare products)
 17          from July 27, 2016, I don't specifically
 18          remember sending it, but I believe that I      Page 101:15-102:12:
 19          did.                                           Irrelevant, Fed. Evid. 401,
 20    Q.    Do you have any reason to doubt                402; Prejudicial, Fed. R.
 21          the accuracy of this document?                 Evid. 403 (relates solely to
 22    A.    No.                                            abandoned color cosmetics
 23    Q.    If you would turn -- I guess, can              claim)
 24          you tell me, do you know who Jennifer
             Cohen at                                       Plaintiff’s Response:
 25          Sephora is?
 Page 101                                                   Ms. Bodnar emailed
 1     A.    Yes.                                           Plaintiff in 2016 claiming
 2     Q.    Did you know Jennifer Cohen at                 her company only sold color

                                           22
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 3           Sephora?                                       cosmetics and would always
 4     A.    Yes, I met her.                                use the term “Thrive”
 5     Q.    And what was the purpose sending               together with the term
 6           this slide set to her?                         “Causemetics”. This
 7     A.    To schedule a follow-up phone                  document, from around the
 8           conversation.                                  same time as Ms. Bodnar’s
 9     Q.    To do what?                                    email, is relevant to
 10    A.    To speak with her about Thrive                 demonstrate: (1) date of
 11           Causemetics.                                  Defendant’s plans to expand
 12    Q.    Did you want Sephora to sell                   into skincare market and
 13          Thrive Causemetics?                            Defendant’s frequent use of
 14    A.    At the time, yes.                              the term “Thrive” alone to
 15    Q.    Can you turn to Bates number that              refer to its company, both of
 16          ends in 9125, please?                          which contradict statements
 17    A.    Yes.                                           made by Ms. Bodnar to
 18    Q.    Can you read the title at the top              Plaintiff; (2) Ms. Bodnar
 19          of this page?                                  hid information concerning
 20    A     .Thrive In the News.                           expansion plans from
 21    Q.    Are you referring to Thrive                    Plaintiff in 2016 email,
 22          Causemetics?                                   supporting Plaintiff’s
 23    A.    Yes. The logo is on the                        opposition to laches
 24          presentation, the Thrive Causemetics logo.     defense; and (3)
 25    Q.    And in this title, you're just                 Defendant’s long used the
 Page 102                                                   term “Thrive” alone to refer
 1           saying Thrive, right?                          to itself supports a finding
 2     A.    This title, yes.                               of false designation of
 3     Q.    Can you turn to Bates No. 9133,                origin or infringement based
 4           please? Just let me know when you're there.    on confusion as to the
 5     A.    Yes.                                           affiliation of the parties,
 6     Q.    Can you read the title at the top              which have both been
 7           of this page, please?                          known by the name
 8     A.    "Celebrity makeup artists use                  “Thrive” for years.
 9           plus recommend Thrive."
 10    Q.    Is that referring to Thrive
 11          Causemetics again?
 12    A.    Yes.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (103:6-14)   Defendant’s Objections:


                                           23
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 Page 103                                                  Page 103:6-8, 11-14:
 6     Q.    This document quotes Melissa                  Irrelevant, Fed. Evid. 401,
 7           Schleicher. Can you read the quote from       402; Prejudicial, Fed. R.
             her,                                          Evid. 403 (relates solely to
 8           please?                                       abandoned color cosmetics
 ...                                                       claim)
 11    Q.    "When my clients
 12          are hitting the red carpet, I immediately     Plaintiff’s Response:
             grab
 13          for my Thrive products. I love everything     Relevant to demonstrate: (1)
 14          else they make."                              Defendant’s frequent use of
                                                           the term “Thrive” alone to
                                                           refer to its company, which
                                                           contradicts statements made
                                                           by Ms. Bodnar to Plaintiff;
                                                           and (2) Defendant’s long
                                                           used the term “Thrive”
                                                           alone to refer to itself
                                                           supports a finding of false
                                                           designation of origin or
                                                           infringement based on
                                                           confusion as to the
                                                           affiliation of the parties,
                                                           which have both been
                                                           known by the name
                                                           “Thrive” for years.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (104:12-    Defendant’s Objections:
 20)
                                                           Page 104:12-13, 16-20:
 Page 104                                                  Irrelevant, Fed. Evid. 401,
 12    Q.    Can you read the next quote                   402; Prejudicial, Fed. R.
 13          that's attributed to Jamie Greenberg, please? Evid. 403 (relates solely to
 ...                                                       abandoned color cosmetics
 16    Q.    "I can't get                                  claim)
 17          enough. If Thrive makes it, I use it on my
 18          clients because they are the most effective   Plaintiff’s Response:
 19          products I've ever used. The cause is near
 20          and dear to my heart."

                                           24
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                                                          Relevant to demonstrate: (1)
                                                          Defendant’s frequent use of
                                                          the term “Thrive” alone to
                                                          refer to its company, which
                                                          contradicts statements made
                                                          by Ms. Bodnar to Plaintiff;
                                                          and (2) Defendant’s long
                                                          used the term “Thrive”
                                                          alone to refer to itself
                                                          supports a finding of false
                                                          designation of origin or
                                                          infringement based on
                                                          confusion as to the
                                                          affiliation of the parties,
                                                          which have both been
                                                          known by the name
                                                          “Thrive” for years.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (105:2-    Defendant’s Objections:
 106:2)
                                                          Page 105:2-3, 6, 8-9, 12-16,
 Page 105                                                 21-23, 106:2: Irrelevant,
 2     Q.    It uses the word Thrive to refer             Fed. Evid. 401, 402;
 3           to Thrive Causemetics, doesn't it?           Prejudicial, Fed. R. Evid.
 ...                                                      403 (relates solely to
 6     A.    Yes.                                         abandoned color cosmetics
 ...                                                      claim)
 8     Q.    Can you read the third quote
 9           attributed to Elena George?                  Plaintiff’s Response:
 ...
 12    A.    "Thrive has changed                          Relevant to demonstrate: (1)
 13          the game and I am grateful to be a part of   Defendant’s frequent use of
             the                                          the term “Thrive” alone to
 14          team. I use their products on all of my      refer to its company, which
 15          celebrity clientele because they are safe,   contradict statements made
 16          effective and give back."                    by Ms. Bodnar to Plaintiff;
 ...                                                      and (2) Defendant’s long
 21    Q.    This's several instances just on             used the term “Thrive”
                                                          alone to refer to itself

                                            25
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 22          this page referring to Thrive Causemetics       supports a finding of false
             just                                            designation of origin or
 23          as Thrive, are there not?                       infringement based on
 ...                                                         confusion as to the
 Page 106                                                    affiliation of the parties,
 2     A.    Yes.                                            which have both been
                                                             known by the name
                                                             “Thrive” for years.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (107:5-9)     Defendant’s Objections:

 Page 107                                                    Page 107:5-9: Irrelevant,
 5     Q.    But did you take any specific                   Fed. Evid. 401, 402;
 6           steps so that -- to request that these people   Prejudicial, Fed. R. Evid.
 7           always use the name Thrive Causemetics          403 (relates solely to
             rather                                          abandoned color cosmetics
 8           than just Thrive?                               claim)
 9     A.    I don't recall.
                                                             Plaintiff’s Response:

                                                             Ms. Bodnar contacted
                                                             Plaintiff in 2016 claiming
                                                             she would always use the
                                                             term “Thrive” together with
                                                             the term “Causemetics”.
                                                             This testimony indicates
                                                             Ms. Bodnar made no such
                                                             attempt to do what she
                                                             claimed in her email to
                                                             Plaintiff.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (109:3-9)     Defendant’s Objections:

 Page 109                                                    Page 109:3-9: Irrelevant,
 3     Q.    Can you turn to page 9134 in                    Fed. Evid. 401, 402;
 4           Exhibit 17, please?                             Prejudicial, Fed. R. Evid.
 5     A.    Yes. I am there.                                403 (long predates sale of
 6     Q.    Can you read the title at the top               skincare products)
 7           of the page?
                                            26
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 8     A.    Thrive at New York Fash- or                  Plaintiff’s Response:
 9           NYFW.
                                                          Relevant to demonstrate: (1)
                                                          Defendant’s frequent use of
                                                          the term “Thrive” alone to
                                                          refer to its company, which
                                                          contradict statements made
                                                          by Ms. Bodnar to Plaintiff;
                                                          and (2) Defendant’s long
                                                          used the term “Thrive”
                                                          alone to refer to itself
                                                          supports a finding of false
                                                          designation of origin or
                                                          infringement based on
                                                          confusion as to the
                                                          affiliation of the parties,
                                                          which have both been
                                                          known by the name
                                                          “Thrive” for years.
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (109:14-   Defendant’s Objections:
 111:3)
                                                          Page 109:14-110:15;
 Page 109                                                 110:17-25; 111:3:
 14    Q.    Can you turn to page 9155,                   Irrelevant, Fed. Evid. 401,
 15          please. Let me know when you're there.       402; Prejudicial, Fed. R.
             This                                         Evid. 403 (long predates
 16          page is titled, Product 2017, right?         sale of skincare products)
 17    A.    Yes.
 18    Q.    Under the list for Q3, there is a            Plaintiff’s Response:
 19          Hero Skincare SKU.
 20          Do you see that?                          Ms. Bodnar emailed
 21    A.    I see that on this page, yes.             Plaintiff in 2016 claiming
 22    Q.    What was meant by that?                   her company only sold color
 23    A.    I don't recall.                           cosmetics and would always
 24    Q.    What is a hero to you? What does          use the term “Thrive”
 25          that mean?                                together with the term
 Page 110                                              “Causemetics”. This
 1     A.    At Sephora, they refer to hero            document, from around the
 2           SKUs as -- they say hero SKU when talking same time as Ms. Bodnar’s

                                           27
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 3          about products that are popular is really      email, is relevant to
 4          how they refer to it.                          demonstrate: (1) date of
 5    Q.    When this document was created,                Defendant’s plans to expand
 6          what was the plan regarding a hero skincare    into skincare market and
 7          SKU in 2017?                                   Defendant’s frequent use of
 8    A.    I don't recall.                                the term “Thrive” alone to
 9    Q.    Did TCI plan to release a                      refer to its company, both of
 10         skincare SKU in the third quarter of 2017?     which contradict statements
 11   A.    I don't recall.                                made by Ms. Bodnar to
 12   Q.    Do you have any reason to doubt                Plaintiff; (2) Ms. Bodnar
 13         that at this time of these slides, TCI did     hid information concerning
 14         have plans to release the hero skincare SKU    expansion plans from
            in                                             Plaintiff in 2016 email,
 15         2017?                                          supporting Plaintiff’s
 ...                                                       opposition to laches
 17    A.   I don't recall.                                defense; and (3)
 18         But as a whole, this isn't representative of   Defendant’s long used the
 19         what actually wound up happening from a        term “Thrive” alone to refer
 20         product launch perspective.                    to itself supports a finding
 ...                                                       of false designation of
 22    Q.   I understand that. But it                      origin or infringement based
 23         appears to indicate that TCI had a plan to     on confusion as to the
 24         release a skincare SKU in Q3, 2017; is that    affiliation of the parties,
 25         correct?                                       which have both been
 Page 111                                                  known by the name
 ...                                                       “Thrive” for years.
 3     A.   I don't recall.

 Defendant’s Counter-Designation of Karissa Bodnar
 (111:5-7; 9-18) [only if objections to preceding
 designation are overruled]:

 Page 111
 5     Q.   Well, that's what it says here.
 6          Do you have any reason to doubt what it
            says
 7          here?

 9    A.    Yes. Yes, I do.

                                           28
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 ...
 11    Q.    What is your reason to doubt?
 12    A.    The other inaccuracies on
 13          here. Almost none of the things on the
 14          slide are accurate from a timing and
 15          actual -- for example, Q3, it says mascara
 16          II. We never launched a second mascara.
 17          Our mascara did not launch in Q1 of 2017.
 18          So there's just a lot of inaccuracies.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (111:24-   Defendant’s Objections:
 113:3)
                                                          Page 111:24-112:10;
 Page 111                                                 112:14-16; 112:19-20;
 24    Q.    Below it says, Q4 skincare                   112:22-24: Irrelevant, Fed.
 25          rollout five SKUs.                           Evid. 401, 402; Prejudicial,
 Page 112                                                 Fed. R. Evid. 403 (long
 1           Do you see that?                             predates sale of skincare
 2     A.    I do see that on this                        products)
 3           document.
 4     Q.    What is that referring to?                   Page 112:25-113:3:
 5     A.    I don't recall.                              Irrelevant, Fed. Evid. 401,
 6     Q.    What five SKUs were planned?                 402; Prejudicial, Fed. R.
 7     A.    I don't recall.                              Evid. 403 (relates solely to
 8     Q.    Is it correct these five SKUs                abandoned color cosmetics
 9           were planned to be released, according to    claim)
             your
 10          plans, on July 2016?                         Plaintiff’s Response:
 ...
 12    A.    I don't recall.                              Ms. Bodnar emailed
 ...                                                      Plaintiff in 2016 claiming
 14    Q.    Did you make any attempt to make             her company only sold color
 15          sure you provided Sephora with correct       cosmetics and would always
 16          information as to TCI's plans?               use the term “Thrive”
 ...                                                      together with the term
 19    A.    Honestly, I just                             “Causemetics”. This
 20          don't recall.                                document, from around the
 ...                                                      same time as Ms. Bodnar’s
 22    Q.    But you could have had plans to              email, is relevant to

                                           29
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 23          release skincare SKUs as of July 2016?           demonstrate: (1) date of
 24    A.    Perhaps.                                         Defendant’s plans to expand
 25    Q.    Turning to the next page, 9156.                  into skincare market and
 Page 113                                                     Defendant’s frequent use of
 1           Can you read the title at the top of the page,   the term “Thrive” alone to
 2           please?                                          refer to its company, both of
 3     A.    "Thrive at Sephora."                             which contradict statements
                                                              made by Ms. Bodnar to
                                                              Plaintiff; (2) Ms. Bodnar
                                                              hid information concerning
                                                              expansion plans from
                                                              Plaintiff in 2016 email,
                                                              supporting Plaintiff’s
                                                              opposition to laches
                                                              defense; and (3)
                                                              Defendant’s long used the
                                                              term “Thrive” alone to refer
                                                              to itself supports a finding
                                                              of false designation of
                                                              origin or infringement based
                                                              on confusion as to the
                                                              affiliation of the parties,
                                                              which have both been
                                                              known by the name
                                                              “Thrive” for years. Also
                                                              relevant to Defendant’s
                                                              arguments to the USPTO
                                                              that the parties sold
                                                              different products, when
                                                              indeed Defendant already
                                                              had plans to sell skincare in
                                                              direct competition with
                                                              Plaintiff.
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (113:10-       Defendant’s Objections:
 13)
                                                              Page 113:10-13: Irrelevant,
 Page 113                                                     Fed. Evid. 401, 402;
 10    Q.    Can you read the last sentence,                  Prejudicial, Fed. R. Evid.
 11          the last quote attributed to a Kathy Lund?       403 (relates solely to

                                            30
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 12    A.    "Excited to try more from                    abandoned color cosmetics
 13          Thrive."                                     claim)

                                                          Plaintiff’s Response:

                                                          Relevant to demonstrate: (1)
                                                          Defendant’s frequent use of
                                                          the term “Thrive” alone to
                                                          refer to its company, which
                                                          contradicts statements made
                                                          by Ms. Bodnar to Plaintiff;
                                                          and (2) Defendant’s long
                                                          used the term “Thrive”
                                                          alone to refer to itself
                                                          supports a finding of false
                                                          designation of origin or
                                                          infringement based on
                                                          confusion as to the
                                                          affiliation of the parties,
                                                          which have both been
                                                          known by the name
                                                          “Thrive” for years.
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (113:24-   Defendant’s Objections:
 114:1)
                                                          Page 113:24-114:1:
 Page 113                                                 Irrelevant, Fed. Evid. 401,
 24    Q.    Have you known customers of TCI              402; Prejudicial, Fed. R.
 25          to refer to Thrive alone?                    Evid. 403 (relates solely to
 Page 114                                                 abandoned color cosmetics
 1     A.    Yes.                                         claim)

                                                          Plaintiff’s Response:

                                                          Ms. Bodnar contacted
                                                          Plaintiff in 2016 claiming
                                                          she would always use the
                                                          term “Thrive” together with
                                                          the term “Causemetics”.
                                                          This testimony shows she

                                           31
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                                                            knew that was untrue.
                                                            Further, this testimony
                                                            supports a finding of false
                                                            designation of origin or
                                                            infringement based on
                                                            confusion as to the
                                                            affiliation of the parties,
                                                            which are both known as
                                                            “Thrive” and Ms. Bodnar’s
                                                            knowledge that moving into
                                                            skincare under that name
                                                            would be likely to cause
                                                            confusion with Plaintiff.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (114:3-4)

 Page 114
 3     (Exhibit No. 18 marked for
 4     identification.)

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (114:13-
 23)

 Page 114
 13    Q.    And this is your email to Jenni
 14          Bodnar, dated January 8, 2016; is that
 15          correct?
 16    A.    Yes.
 17    Q.    Who is Jenni Bodnar?
 18    A.    My mother.
 19    Q.    And what involvement did she have
 20          with TCI at this time?
 21    A.    She did order fulfillment.
 22          She is my mom, so she did, you know,
 23          whatever -- whatever I needed help with.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (115:5-16)   Defendant’s Objections:

 Page 115
                                           32
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 5    Q.    Do you know who created these               Page 115:5-16: Irrelevant,
 6          slides?                                     Fed. Evid. 401, 402;
 7    A.    I don't recall.                             Prejudicial, Fed. R. Evid.
 8    Q.    Could it have been you?                     403 (long predates sale of
 9    A.    Yes, it could have been.                    skincare products)
 10   Q.    And you sent them to your mother
 11         in January 2016?                            Plaintiff’s Response:
 12   A.    I don't recall sending it, but
 13         it looks like I did, based on this email.   Ms. Bodnar emailed
 14   Q.    Do you have any reason to doubt             Plaintiff in 2016 claiming
 15         that you did?                               her company only sold color
 16   A.    No.                                         cosmetics and would always
                                                        use the term “Thrive”
                                                        together with the term
                                                        “Causemetics”. This
                                                        document, which predates
                                                        Ms. Bodnar’s email to
                                                        Plaintiff, is relevant to
                                                        demonstrate: (1) date of
                                                        Defendant’s plans to expand
                                                        into skincare market and
                                                        Defendant’s frequent use of
                                                        the term “Thrive” alone to
                                                        refer to its company, both of
                                                        which contradict statements
                                                        made by Ms. Bodnar to
                                                        Plaintiff; (2) Ms. Bodnar
                                                        hid information concerning
                                                        expansion plans from
                                                        Plaintiff in 2016 email,
                                                        supporting Plaintiff’s
                                                        opposition to laches
                                                        defense; and (3)
                                                        Defendant’s long used the
                                                        term “Thrive” alone to refer
                                                        to itself supports a finding
                                                        of false designation of
                                                        origin or infringement based
                                                        on confusion as to the

                                            33
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                                                          affiliation of the parties,
                                                          which have both been
                                                          known by the name
                                                          “Thrive” for years.
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (116:11-   Defendant’s Objections:
 117:4)
                                                          Page 116:11-117:1; 117:4:
 Page 116                                                 Irrelevant, Fed. Evid. 401,
 11    Q.    Could you turn to page 9099? Are             402; Prejudicial, Fed. R.
 12          you with me?                                 Evid. 403 (relates solely to
 13    A.    Yes.                                         abandoned color cosmetics
 14    Q.    Can you read the bold sentence               claim)
 15          towards the top?
 16    A.    "Thrive is different in two                  Plaintiff’s Response:
 17          ways."
 18    Q.    And the two sentences below that?            Ms. Bodnar contacted
 19    A.    "Thrive is the only                          Plaintiff in 2016 claiming
 20          cause-based beauty company. Thrive has       she would always use the
 21          propriety product development."              term “Thrive” together with
 22    Q.    Are these referring to Thrive                the term “Causemetics”.
 23          Causemetics?                                 This document, from around
 24    A.    Yes.                                         the same time of Ms.
 25    Q.    I don't see Causemetics anywhere             Bodnar’s statements,
 Page 117                                                 demonstrates that statement
 1           on this page. Do you?                        is untrue and that she hid
 ...                                                      information in her email to
 4     A.    No.                                          Plaintiff in 2016. The
                                                          information in this
                                                          document is also relevant to
                                                          show Defendant has long
                                                          used the term “Thrive”
                                                          alone to refer to itself,
                                                          which supports a finding of
                                                          false designation of origin
                                                          or infringement based on
                                                          confusion as to the
                                                          affiliation of the parties.
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (117:19-   Defendant’s Objections:
 118:11)
                                           34
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                                                      Page 117:19-118:8; 118:11:
 Page 117                                             Irrelevant, Fed. Evid. 401,
 19    Q.   Can you go to page 9101?                  402; Prejudicial, Fed. R.
 20    A.   Yes.                                      Evid. 403 (long predates
 21    Q.   And states at the top: Product            sale of skincare products)
 22         Road Map 2017.
 23         Do you see that?                          Plaintiff’s Response:
 24    A.   Mm-hmm. I do, yes.                        Ms. Bodnar emailed
 25    Q.   What is meant by Product Road Map         Plaintiff in 2016 claiming
 Page 118                                             her company only sold color
 1          2017?                                     cosmetics and would always
 2     A.   I don't recall.                           use the term “Thrive”
 3     Q.   Do you know if this was accurate          together with the term
 4          as of January 2016?                       “Causemetics”. This
 5     A.   I don't recall.                           document, which predates
 6     Q.   Could this have been                      Ms. Bodnar’s email to
 7          representative of Thrive's plans as of    Plaintiff, is relevant to
 8          January 2016?                             demonstrate: (1) date of
 ...                                                  Defendant’s plans to expand
 11    A.   I don't recall.                           into skincare market and
                                                      Defendant’s frequent use of
                                                      the term “Thrive” alone to
                                                      refer to its company, both of
                                                      which contradict statements
                                                      made by Ms. Bodnar to
                                                      Plaintiff; (2) Ms. Bodnar
                                                      hid information concerning
                                                      expansion plans from
                                                      Plaintiff in 2016 email,
                                                      supporting Plaintiff’s
                                                      opposition to laches
                                                      defense; and (3)
                                                      Defendant’s long used the
                                                      term “Thrive” alone to refer
                                                      to itself supports a finding
                                                      of false designation of
                                                      origin or infringement based
                                                      on confusion as to the
                                                      affiliation of the parties,

                                          35
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                                                           which have both been
                                                           known by the name
                                                           “Thrive” for years.
 Defendant’s Counter-Designation of Karissa Bodnar
 (118:20-119:1) [only if objections to preceding
 designation are overruled]:

 Page 118
 20    Q.    Sure. Do you recall any of TCI's
 21          plans for future products as of January
             2016?
 22    A.    I remember us working on
 23          mascara that would ultimately become
 24          Liquid Lash Extensions -- Liquid Lash
 25          Extensions Mascara is what I recall from
 Page 119
 1           that time.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (119:2-     Defendant’s Objections:
 121:5)
                                                           Page 119:2-119:6; 119:8;
 Page 119                                                  119:10-24; 120:2, 4-6, 9,
 2     Q.    This document states, "Skincare;              11-14, 17, 19-21: Irrelevant,
 3           three SKUs." Do you see that?                 Fed. Evid. 401, 402;
 4     A.    I see it on the document.                     Prejudicial, Fed. R. Evid.
 5     Q.    Was that accurate for TCI's plan              403 (long predates sale of
 6           as of January 2016?                           skincare products)
 ...
 8     A.    I don't recall.                               Page 120:22-121:5:
 ...                                                       Hearsay, Fed. R. Evid. 802;
 10    Q.    So it's possible that could have              No foundation, Fed. R.
 11          been an accurate description of TCI's plans   Evid. 602.
             as
 12          of January 2016?                              Plaintiff’s Response:
 13    A.    I don't recall.
 14    Q.    Do you have any reason to doubt               Ms. Bodnar emailed
 15          the date of the email sending these slides?   Plaintiff in 2016 claiming
 16    A.    No.                                           her company only sold color
 17    Q.    It came from your account, right?             cosmetics and would always
                                           36
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 18    A.   Yes.                                        use the term “Thrive”
 19    Q.   So we could check your account to           together with the term
 20         make sure the date is accurate, right?      “Causemetics”. This
 21    A.   Yes.                                        document, which predates
 22    Q.   And this document states,                   Ms. Bodnar’s email to
 23         "Skincare; three SKUs." And it was sent     Plaintiff, is relevant to
 24         January 2016; is that right?                demonstrate: (1) date of
 ...                                                    Defendant’s plans to expand
 Page 120                                               into skincare market and
 ...                                                    Defendant’s frequent use of
 2     A.   Yes.                                        the term “Thrive” alone to
 ...                                                    refer to its company, both of
 4     Q.   So is it reasonable to believe              which contradict statements
 5          somebody within TCI planned skincare        made by Ms. Bodnar to
            releases                                    Plaintiff; (2) Ms. Bodnar
 6          in 2017?                                    hid information concerning
 ...                                                    expansion plans from
 9     A.   I don't know.                               Plaintiff in 2016 email,
 ...                                                    supporting Plaintiff’s
 11    Q.   Do you know where this                      opposition to laches
 12         information might have come from?           defense; and (3)
 13    A.   I don't recall.                             Defendant’s long used the
 14    Q.   You could have written this?                term “Thrive” alone to refer
 ...                                                    to itself supports a finding
 17    A.   I don't know.                               of false designation of
 ...                                                    origin or infringement based
 19    Q.   And you don't recall if anybody             on confusion as to the
 20         else might have written this?               affiliation of the parties,
 21    A.   No.                                         which have both been
 22    Q.   Going onto the next page, 9102.             known by the name
 23         Can you read the bullet point at the top,   “Thrive” for years.
 24         please?
 25    A.   "89 percent of US
 Page 121
 1          customers" -- sorry.
 2          "89 percent of US consumers
 3          are likely to switch brands to one
 4          associated with a cause, given comparable
 5          price and quality."

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 Defendant’s Counter-Designation of Karissa Bodnar
 (121:6-12) [only if objections to preceding designation
 are overruled]:

 Page 121
 6     Q.    Is that accurate?
 7     A.    It's attributed to 2013 study
 8           done by (inaudible) Communications.
 9     Q.    Do you recall reviewing that
 10          study?
 11    A.    I don't recall reviewing the
 12          study, no.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (121:13-    Defendant’s Objections:
 16)
                                                           Page 121:13-16: Hearsay,
 Page 121                                                  Fed. R. Evid. 802; No
 13    Q.    Is there any reason to doubt the              foundation, Fed. R. Evid.
 14          accuracy of this information in this TCI      602.
 15          slide?
 16    A.    No.                                           Plaintiff’s Response:

                                                           Not hearsay, as it is an
                                                           admission of a party
                                                           opponent. FRE 802(d)(2).
                                                           Witness demonstrated
                                                           personal knowledge of
                                                           document, permitting
                                                           admission under FRE 602.


 Plaintiff’s Designation of K. Bodnar 30(b)(6) (122:23-    Defendant’s Objections:
 124:6)
                                                           Page 122:23-124:6:
 Page 122                                                  Irrelevant, Fed. Evid. 401,
 23    Q.    Can you go to page 9105, please?              402; Prejudicial, Fed. R.
 24    A.    I am there.                                   Evid. 403 (relates solely to
 25    Q.    Can you read the title at the top
                                           38
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 Page 123                                                  abandoned color cosmetics
 1           of the page?                                  claim)
 2     A.    "Thrive in the news."
 3     Q.    Is Causemetics on this page                   Plaintiff’s Response:
 4           anywhere?
 5     A.    No.                                           Relevant to demonstrate: (1)
 6     Q.    To your understanding, is the                 Defendant’s frequent use of
 7           term "Thrive" referring to Thrive             the term “Thrive” alone to
             Causemetics?                                  refer to its company, which
 8     A.    Yes.                                          contradicts statements made
 9     Q.    Can you go the next page, 9106,               by Ms. Bodnar to Plaintiff;
 10          please? Are you with me?                      and (2) Defendant’s long
 11    A.    Yeah, I am.                                   used the term “Thrive”
 12    Q.    Can you read the quote attributed             alone to refer to itself
 13          to Michelle Phan, please?                     supports a finding of false
 14    A.    "Thrive's products are                        designation of origin or
 15          unprecedented because of Karissa's            infringement based on
 16          tenacious drive to develop the best           confusion as to the
 17          products out there."                          affiliation of the parties,
 18    Q.    And can you read the next quote               which have both been
 19          attributed to Elena George, please?           known by the name
 20    A.    "Thrive has changed the game                  “Thrive” for years.
 21          and I am grateful to be a part of the
 22          team. I use their products on Robin
 23          Roberts, Michele Gayle King, Vivica A.
             Fox
 24          and more. Everyone at ABC uses Thrive.
 25          It's the unofficial beauty brand of ABC."
 Page 124
 1     Q.    Does the word "Causemetics"
 2           appear in these quotes anywhere?
 3     A.    No.
 4     Q.    Did it appear on this page
 5           anywhere?
 6     A.    No.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (125:2-5)   Defendant’s Objections:

 Page 125

                                           39
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 2     Q.    Did you ever tell these people to             Page 125:2-5: Irrelevant,
 3           refer to Thrive Causemetics by its full       Fed. Evid. 401, 402;
             name,                                         Prejudicial, Fed. R. Evid.
 4           not just Thrive?                              403 (relates solely to
 5     A.    I don't recall.                               abandoned color cosmetics
                                                           claim)

                                                           Plaintiff’s Response:

                                                           Ms. Bodnar contacted
                                                           Plaintiff in 2016 claiming
                                                           she would always use the
                                                           term “Thrive” together with
                                                           the term “Causemetics”.
                                                           This testimony shows she
                                                           knew that was untrue.
                                                           Further, this testimony
                                                           supports a finding of false
                                                           designation of origin or
                                                           infringement based on
                                                           confusion as to the
                                                           affiliation of the parties,
                                                           which are both known as
                                                           “Thrive”.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (129:1-7)   Defendant’s Objections:

 Page 129                                                  Page 129:1-7: Irrelevant,
 1     Q.    And who were those angel                      Fed. Evid. 401, 402
 2           investors?
 3     A.    I don't recall specifically                   Plaintiff’s Response:
 4           for this time frame. A few of our angel       Relevant to witness bias that
 5           investors include Jenni Bodnar, Steve         both of her parents are
 6           Bodnar, Blythe Jack is another angel          investors in Defendant.
 7           investor.                                     United States v. Hankey,
                                                           203 F.3d 1160, 1171 (9th
                                                           Cir. 2000) (“Evidence is
                                                           relevant . . . if it has a mere
                                                           tendency to impeach a

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                                                            witness' credibility by a
                                                            showing of bias”). In
                                                            addition, Blythe Jack is
                                                            referenced in an exhibit in
                                                            which she contacted Ms.
                                                            Bodnar concerning Plaintiff
                                                            and potential confusion with
                                                            Plaintiff’s brand. This
                                                            testimony lays foundation
                                                            for identity of Ms. Jack.
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (137:6-14)

 Page 137
 6     Q.    Ms. Bodnar, does TCI advertise
 7           with online advertisement?
 8     A.    We advertise on Facebook,
 9           Instagram, TickTok, to name a few.
 10    Q.    And do you advertise on Google?
 11    A.    Yes, we do.
 12    Q.    And do you purchase keywords for
 13          advertising purposes?
 14    A.    Yes.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (137:25-
 138:16)

 Page 137
 25    Q.    Is there a target audience for
 Page 138
 1           TCI advertisement?
 2     A.    I mean, I would say women are
 3           the target audience. However, we believe
 4           in being inclusive, so we don't exclude
 5           anybody from being able to use our
 6           products, whether it's purchasing the
 7           products or also the philanthropy that we
 8           do.
 9     Q.    Do men purchase TCI products?
 10    A.    I am sure they do.
                                              41
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 11    Q.    Do you track purchasers by
 12          gender?
 13    A.    We do track, yes, we do.
 14    Q.    And where is that data kept?
 15    A.    The data is provided by
 16          Google, mostly, I would say.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (139:20-
 140:3)

 Page 139
 20    Q.    And how about within the
 21          demographic? Do you target any particular
             age
 22          of consumer?
 23    A.    No.
 24    Q.    Does TCI sell skincare products
 25          to men?
 Page 140
 ...
 3     A.    I don't know.

 Defendant’s Counter-Designation of Karissa Bodnar
 (140:12-21):

 Page 140
 12    Q.    Does TCI advertise to men?
 13    A.    To my knowledge, our
 14          advertising efforts are targeted towards
 15          women. For Mother's Day, we may
             advertise
 16          to the men as a gift opportunity for the
 17          mothers in their lives, but the intention
 18          is that the products -- we really want the
 19          products to help women thrive. Again, we
 20          don't -- we don't exclude people, but
 21          women are...



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 Plaintiff’s Designation of K. Bodnar 30(b)(6) (140:22-
 24)

 Page 140
 22    Q.    So at times TCI placed ads in
 23          sources targeted at male customers?
 24    A.    I don't know.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (148:19-   Defendant’s Objections:
 21)
                                                          Page 148:19-21: Irrelevant,
 Page 148                                                 Fed. Evid. 401, 402;
 19    Q.    Does TCI purchase keywords                   Prejudicial, Fed. R. Evid.
 20          relating to its competitors's names?         403
 21    A.    I don't recall.
                                                          Plaintiff’s Response:

                                                          Relevant to Defendant’s
                                                          advertising practices. Also,
                                                          the parties are competitors,
                                                          and this could indicate
                                                          purchase of keywords
                                                          relating to Plaintiff.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (158:14-
 24)

 Page 158
 14    Q.    Do both TCI and Thrive Natural
 15          Care sell moisturizer?
 ...
 18    Q.    You can answer.
 19    A.    I know Thrive Causemetics
 20          does. I can't speak to what TCI is
 21          currently doing today.
 22    Q.    Do you know if TNC has ever sold
 23          moisturizer?
 24    A.    I don't know.


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 Plaintiff’s Designation of K. Bodnar 30(b)(6) (159:11-
 14)

 Page 159
 11    Q.    Is Thrive Natural Care's
 12          moisturizer competing with TCI's
             moisturizer?
 ...
 14    A.    I don't know.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (159:19-   Defendant’s Objections:
 25)
                                                          Page 159:19-25: Irrelevant,
 Page 159                                                 Fed. Evid. 401, 402;
 19    Q.    Has TCI ever bought a keyword for            Prejudicial, Fed. R. Evid.
 20          Thrive alone?                                403
 21    A.    Yes, to the best of my
 22          knowledge, yes.                              Plaintiff’s Response:
 23    Q.    On which platform?
 24    A.    To the best of my knowledge,                 Relevant to Defendant’s
 25          Google.                                      advertising practices and
                                                          purchase of keywords to
                                                          place advertisements that
                                                          use Plaintiff’s registered
                                                          trademark to advertise and
                                                          sell Defendant’s products,
                                                          causing confusion and
                                                          damage to Plaintiff.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (161:10-
 11)

 Page 161
 10    Q.    Why does TCI buy keywords?
 11    A.    To reach customers.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (161:18-   Defendant’s Objections:
 162:20)


                                           44
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 Page 161                                                   Page 162:11-20: Irrelevant,
 18    Q.    How does buying a keyword help                 Fed. Evid. 401, 402;
 19          someone see TCI?                               Prejudicial, Fed. R. Evid.
 20    A.    I don't understand the                         403; No foundation, Fed. R.
 21          question.                                      Evid. 602
 22    Q.    Well, you said that buying a
 23          keyword may help them see us, right?           Plaintiff’s Response:
 24    A.    Yes.
 25    Q.    What do you mean by that?                      Relevant to Defendant’s
 Page 162                                                   advertising practices and
 1     A.    If you purchase a keyword,                     purchase of keywords to
 2           like for example, eyelashes, depending on      place advertisements that
 3           the success of that and at any given           use Plaintiff’s registered
 4           minute, as it's constantly changing,           trademark to advertise and
 5           someone may see our false eyelashes due to     sell Defendant’s products,
 6           that purchase.                                 causing confusion and
 7     Q.    If someone searches for false                  damage to Plaintiff. Also
 8           eyelashes, does it then push your ad up to     relevant to harm to Plaintiff
             the                                            in that it demonstrates
 9           top?                                           Defendant bidding on
 10    A.    It may.                                        keywords drives up cost for
 11    Q.    And if you buy the keyword                     Plaintiff to bid on keywords
 12          "thrive" and someone searches thrive, it can   which consist of its own
 13          push your ad up to the top?                    registered trademark.
 14    A.    It may.                                        Witness demonstrated
 15    Q.    Do you bid for keywords?                       personal knowledge of
 16    A.    Yes.                                           Defendant’s advertising
 17    Q.    So if you bid for a certain                    practices, permitting
 18          amount, can someone else outbid you for a      admission under FRE 602.
 19          higher amount?
 20    A.    Yes.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (167:4-24)

 Page 167
 4     (Exhibit No. 26 marked for
 5     identification.)
 ...
 7     Q.     Showing you Exhibit 26. Do you

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 8           recognize this spreadsheet?
 9     A.    Not this exact spreadsheet.
 10    Q.    Do you recognize the format of
 11          this spreadsheet?
 12    A.    I recognize words on this.
 13    Q.    Do you know if this was prepared
 14          by TCI?
 15    A.    It looks like it.
 16    Q.    And do you know where this data
 17          came from?
 18    A.    From looking at this, it would
 19          likely be Google Analytics.
 20    Q.    What does this spreadsheet show?
 ...
 23    A.    Yeah. I mean, it's
 24          a search keyword that has campaign.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (174:5-14)

 Page 174
 5     Q.    Do you have knowledge of TCI
 6           purchasing any of the keywords listed on
             this
 7           document?
 8     A.    Yes.
 9     Q.    You have knowledge of TCI
 10          purchasing Thrive Lip Balm keyword?
 11    A.    I am sure we purchased
 12          something in that vein. Again, throughout
 13          the course of the business, we have
 14          purchased thousands of keywords.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (174:21-
 175:3)

 Page 174
 21    Q.    Do you have knowledge of TCI
 22          purchasing numerous keywords that don't


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 23          include the word Causemetics, but do
             include
 24          the word Thrive?
 25    A.    Yes.
 Page 175
 1     Q.    Is that still a practice of TCI's
 2           today?
 3     A.    Yes.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (175:18-
 176:1)

 Page 175
 18    Q.    Does keyword-based advertising
 19          help TCI reach its customers?
 20    A.    Yes.
 21    Q.    Why do you say that?
 22    A.    Because it does.
 23    Q.    Has TCI used the phrase Thrive
 24          Tribe in its advertising in the past?
 25    A.    In the past we have. We do
 Page 176
 1           not currently.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (176:18-
 24)

 Page 176
 18    Q.    Okay. We had just started
 19          talking about TCI's use of the phrase Thrive
 20          Tribe. You said you don't use that phrase
 21          anymore in advertisement?
 22    A.    No.
 23    Q.    When did TCI stop doing so?
 24    A.    In 2020.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (177:19-
 21)


                                                 47
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 Page 177
 19    Q.    Has TCI used the phrase Thrive
 20          Lab in its advertisement?
 21    A.    We have in the past, yeah.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (180:7-25)

 Page 180
 7     Q.    When did Thrive Causemetics first
 8           become aware of Thrive Natural Care?
 9     A.    I believe it was in 2016.
 10    Q.    And how did it become aware?
 11    A.    Based on my recollection, it
 12          was the USPTO's office action.
 13    Q.    And what office action was that?
 14    A.    It was our application for
 15          Thrive Causemetics, the trademark.
 16    Q.    And did the trademark get
 17          rejected?
 18    A.    The first time we applied for
 19          it, yes.
 20    Q.    And was that because of the
 21          Thrive Natural Care trademark registration?
 ...
 24    Q.    You can answer.
 25    A.    Partially.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (180:17-
 19)

 Page 180
 17    Q.    Did you believe Thrive Natural
 18          Care didn't target women?
 19    A.    Honestly, I don't know.

 Defendant’s Counter-Designation of Karissa Bodnar
 (181:21-182:3):

 Page 181
                                           48
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 21    Q.    Did TCI consider changing its
 22          name?
 23    A.    No.
 24    Q.    Why not?
 25    A.    We really -- we operate in

 Page 182
 1           separate spaces and really don't -- we see
 2           our target markets as completely
 3           different.

 Defendant’s Counter-Designation of Karissa Bodnar
 (183:4-12):

 Page 183
 4     Q.    Well, did anyone at TCI look up
 5           Thrive Natural Care after finding out about
 6           its trademark registration?
 7     A.    Yeah. I looked at their
 8           website.
 9     Q.    And did you look at what products
 10          they sold?
 11    A.    To the best of my recollection
 12          it was men's shaving products.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (183:13-
 15)

 Page 183
 13    Q.    But you said you didn't know if
 14          they targeted women or not?
 15    A.    No, I don't know.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (183:16-
 23)

 Page 183
 16    (Exhibit No. 27 marked for
 17    identification.)
                                           49
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 ...
 19    Q.    Okay. Showing you what has been
 20          marked as Exhibit 27. Do you recognize this
 21          document?
 22    A.    I recognize it from
 23          preparation with counsel.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (187:6-16)

 Page 187
 6     Q.    Looking at Exhibit 27, it is a
 7           trademark search result showing Thrive
             Natural
 8           Care's trademark registration and
             application;
 9           is that correct?
 10    A.    Yes.
 11    Q.    And you agree that TCI had this
 12          knowledge as of August 2015?
 13    A.    Yes.
 14    Q.    Did TCI take any action based on
 15          having the knowledge in this report?
 16    A.    I don't believe so.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (187:22-
 188:3)

 Page 187
 22    Q.    Has TCI knowledge of Thrive's
 23          ever affected TCI's business plans in any
             way?
 24    A.    No.
 25    Q.    Did that knowledge have any
 Page 188
 1           effect on TCI's decision to expand into
 2           skincare products?
 3     A.    No.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (195:9-16)
                                           50
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 Page 195
 9     Q.    When was the first time TCI made
 10          contact with Thrive Natural Care?
 11    A.    I believe it was towards the
 12          end of 2015 or early 2016.
 13    Q.    And what sort of contact was
 14          that?
 15    A.    I reached out to TNC's
 16          customer service email.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (196:9-
 197:13)

 Page 196
 9     (Exhibit No. 30 marked for
 10    identification.)
 ...
 14    Q.     Do you recognize what's been
 15           marked Exhibit 30?
 16    A.     I recognize that it came from
 17           my email address.
 18    Q.     This is an email chain that came
 19           from your email account?
 20    A.     Yes.
 21    Q.     Are the dates of the email
 22           exchange accurate?
 23    A.     I believe so.
 24    Q.     At the bottom, the bottom third
 25           of the document, it looks like there's an
 Page 197
 1            email you sent on April 22, 2016. Do you
              see
 2            that?
 3     A.     Yes.
 4     Q.     Is that the first contact that
 5            you referred to a minute ago?
 6     A.     I believe so.
 7     Q.     Do you recall any prior contact

                                           51
Case 2:20-cv-09091-PA-AS Document 132 Filed 10/15/21 Page 55 of 124 Page ID #:6536




 8           before this?
 9     A.    I don't recall any prior
 10          contact.
 11    Q.    Did you know of Thrive's
 12          trademark registration by this point?
 13    A.    Yes.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (197:21-   Defendant’s Objections:
 198:1)
                                                          Page 197:21-23; 198:1:
 Page 197                                                 Argumentative and
 21    Q.    Why did TCI feel it needed                   mischaracterizes document,
 22          Thrive's permission to use the word Thrive   Fed. R. Evid. 611(a)
             in
 23          its brand name?                              Plaintiff’s Response:
 ...
 Page 198                                                 Question does not waste
 1     A.    I don't recall.                              time or harass or unduly
                                                          embarrass the witness. The
                                                          referenced email from Ms.
                                                          Bodnar specifically asks
                                                          permission to use the word
                                                          “thrive” in Defendant’s
                                                          brand name; document is
                                                          not mischaracterized. No
                                                          basis to strike under FRE
                                                          611(a).
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (198:7-
 199:19)

 Page 198
 7     Q.    And do you -- and you stated you
 8           wanted to discuss permission to use the
             word
 9           Thrive as part of our brand name?
 10    A.    Yes.
 11    Q.    Why did you want to discuss that
 12          issue?
 ...
                                           52
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 21    A.    Yeah, I don't
 22          recall.
 ...
 24    Q.    Were you worried about trademark
 25          infringement liability?
 Page 199
 ...
 6     A.    I don't recall.
 ...
 8     Q.    You state below that:
 9           "We are a color cosmetics brand."
 10          Do you see that?
 11    A.    Yes.
 12    Q.    What did you mean by that?
 13    A.    In April of 2016, we sold
 14          color cosmetics.
 15    Q.    Didn't TCI have plans to expand
 16          into skincare at this time?
 ...
 19    A.    I don't recall.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (200:4-9)   Defendant’s Objections:

 Page 200                                                  Page 200:4-6, 9: Asked and
 4     Q.    And so you don't recall if TCI                answered, Fed. R. Evid.
 5           had plans to expand into skincare when this   611(a)
 6           email was sent?
 ...                                                       Plaintiff’s Response:
 9     A.    I don't recall.
                                                           Question does not waste
                                                           time or harass or unduly
                                                           embarrass the witness. No
                                                           basis to strike under FRE
                                                           611(a).
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (201:12-
 202:2)

 Page 201
 12    Q.    You state further in your email:
                                           53
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 13          "We only help women and I see
 14          that you are a men's line."
 15          Did you write that?
 16    A.    It appears so in this email.
 17    Q.    On what did you base the
 18          conclusion that Thrive Natural Care was a
 19          men's line?
 20    A.    I don't recall specifically.
 21          I just -- from my recollection, Thrive
 22          Natural Care had men's shaving products.
 23           It was a different space than us.
 24    Q.    Did TCI have any information on
 25          the demographics of Thrive Natural Care's
 Page 202
 1           customers?
 2     A.    No.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (203:11-
 204:18)

 Page 203
 11    Q.    Well, did you think that this
 12          gave you permission to use the Thrive
             name?
 ...
 14    A.    I don't recall.
 ...
 16    Q.    Is there anything in Mr.
 17          McIntosh's response that you would think
             gave
 18          you permission as you requested?
 19    A.    I don't know.
 20    Q.    Well, you sent a one word
 21          response to Mary Baker Anderson, Ugh,
 22          exclamation point. Do you see that?
 23    A.    Yes.
 24    Q.    Why did you say Ugh?
 25    A.    I don't recall.
 Page 204

                                           54
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 1     Q.    Who is Mary Baker Anderson?
 2     A.    She was a contract finance
 3           person that we worked for -- worked with
 4           for a short period of time.
 5     Q.    Did TCI take any action as a
 6           result of this email exchange?
 7     A.    I don't recall.
 8     Q.    Did TCI stop using Thrive as part
 9           of its name?
 10    A.    No.
 11    Q.    Did TCI change the way it
 12          advertised?
 13    A.    I don't understand the
 14          question.
 15    Q.    Well, did this response from
 16          Thrive Natural Care have any effect at all
             on
 17          TCI's business practices?
 18    A.    No.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (205:8-16)

 Page 205
 8     (Exhibit No. 31 marked for
 9     identification.)
 ...
 12    Q.     Showing you Exhibit 31. Do you
 13           recognize this exhibit?
 14    A.     I recall this document from
 15           discussions with counsel in preparation
 16           for this.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (205:23-
 206:25)

 Page 205
 23    Q.    Do you have any reason to doubt
 24          that you did receive the letter this
 25          March 2017?
                                             55
Case 2:20-cv-09091-PA-AS Document 132 Filed 10/15/21 Page 59 of 124 Page ID #:6540




 Page 206
 1     A.    No.
 2     Q.    And this letter states: "TCI
 3           must immediately cease all use of the term
 4           Thrive."
 5           Do you see that in the first
 6           paragraph?
 7     A.    I see that in the first
 8           paragraph.
 9     Q.    In response to this letter, did
 10          TCI stop using the term Thrive?
 11    A.    No.
 12    Q.    Did this letter have any effect
 13          on TCI's business practices at all?
 14    A.    No.
 15    Q.    Did it change the way TCI
 16          advertised at all?
 17    A.    No.
 18    Q.    At some point did TCI seek to
 19          reach out directly to Natural Care again?
 20    A.    Yes.
 21    Q.    When was that?
 22    A.    I don't recall the specific --
 23          I don't recall the specific date.
 24    Q.    Would that have been in 2019?
 25    A.    It could have been.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (210:3-5)

 Page 210
 3     Q.    So you were repeatedly trying to
 4           call Alex McIntosh; is that correct?
 5     A.    Yes.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (210:9-20)

 Page 210
 9     Q.    Did you call him?
 10    A.    My executive assistant did.
                                           56
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 11    Q.    Did you speak with him?
 12    A.    Yes.
 13    Q.    And what did you speak with Mr.
 14          McIntosh about?
 15    A.    We spoke about a potential
 16          coexistence agreement, to the best of my
 17          recollection.
 18    Q.    What about a coexistence
 19          agreement did you talk about?
 20    A.    I honestly can't recall.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (210:24-
 211:2)

 Page 210
 24    Q.    What was Thrive Causemetics
 25          seeking in the coexistence agreement?
 Page 211
 ...
 2     A.    I don't know.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (222:13-
 16)

 Page 222
 13    Q.    Did this call with Mr. McIntosh
 14          have any effect at all on the way TCI did
 15          business afterwards?
 16    A.    No.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (222:22-
 223:7)

 Page 222
 22    Q.    After this call in
 23          June 2019, did TCI continue to release
 24          additional skincare products on the market?
 25    A.    Yes.
 Page 223
                                           57
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 1     Q.    Do you remember how many skincare
 2           products TCI released after this June 2019
 3           call?
 4     A.    I don't recall the specific
 5           number.
 6     Q.    Was it more than five?
 7     A.    Yes.

 Defendant’s Counter-Designation of Karissa Bodnar
 (226:5-227:1):

 Page 226
 5     Q.    Has TCI been able to register its
 6           trademark for the Thrive Causemetics
             name?
 7     A.    No.
 8     Q.    Has it tried to?
 9     A.    Yes.
 10    Q.    What happened in the first
 11          instance?
 12    A.    Based on my recollection, it
 13          was rejected on the basis of both Thrive
 14          and Causemetics, and then it was the same
 15          examiner, I believe, overturned their
 16          objection to that.
 17    Q.    Yet that application didn't
 18          register, did it?
 19    A.    No.
 20    Q.    Why not?
 21    A.    At the time, we were -- we
 22          didn't have enough money to continue
 23          paying the legal fees, specifically.
 24    Q.    And did TCI -- sorry. Go ahead.
 25    A.    The business was just getting

 Page 227
 1           started in that respect.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (227:2-10)
                                           58
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 Page 227
 2     Q.    Did TCI try again to register the
 3           Thrive Causemetics?
 4     A.    Yes.
 5     Q.    What happened with that
 6           application?
 7     A.    It was rejected.
 8     Q.    Did the rejection have to do with
 9           Thrive Natural Care trademark registration?
 10    A.    Yes.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (228:1-2,   Defendant’s Objections:
 22-25)
                                                           Page 228:1-2; 22-25:
 Page 228                                                  Irrelevant, Fed. Evid. 401,
 1     (Exhibit No. 34 marked for                          402; Prejudicial, Fed. R.
 2     identification.)                                    Evid. 403 (unrelated to
 ...                                                       THRIVE)
 22    Q.     Ms. Bodnar, do you agree that you
 23           had possession of Exhibit 34 as of           Plaintiff’s Response:
 24           August 2015?
 25    A.     Yes.                                         Testimony and evidence is
                                                           admissible under FRE
                                                           404(b)(2) to show motive,
                                                           plan, or knowledge or FRE
                                                           406 to show routine practice
                                                           of Defendant. Defendant
                                                           and Ms. Bodnar knew that
                                                           both portions of the brand
                                                           name “thrive” and
                                                           “causemetics” were
                                                           registered trademarks of
                                                           third parties. Yet Defendant
                                                           continued to use both words
                                                           in complete disregard of
                                                           third-party trademark rights.
                                                           These facts are relevant to


                                           59
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                                                           infringement and
                                                           willfulness.
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (229:4-7)   Defendant’s Objections:

 Page 229                                                  Page 229:4-7: Irrelevant,
 4     Q.    And do you agree that this                    Fed. Evid. 401, 402;
 5           document reflects a trademark registration    Prejudicial, Fed. R. Evid.
             on                                            403 (unrelated to THRIVE)
 6           the first page for Causemetics?
 7     A.    Yes.                                          Plaintiff’s Response:

                                                           Testimony and evidence is
                                                           admissible under FRE
                                                           404(b)(2) to show motive,
                                                           plan, or knowledge or FRE
                                                           406 to show routine practice
                                                           of Defendant. Defendant
                                                           and Ms. Bodnar knew that
                                                           both portions of the brand
                                                           name “thrive” and
                                                           “causemetics” were
                                                           registered trademarks of
                                                           third parties. Yet Defendant
                                                           continued to use both words
                                                           in complete disregard of
                                                           third-party trademark rights.
                                                           These facts are relevant to
                                                           infringement and
                                                           willfulness.
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (229:21-    Defendant’s Objections:
 230:2)
                                                           Page 229:21-230:2:
 Page 229                                                  Irrelevant, Fed. Evid. 401,
 21    Q.    Did the knowledge of this                     402; Prejudicial, Fed. R.
 22          registration change as to Thrive's business   Evid. 403 (unrelated to
 23          practices?                                    THRIVE)
 24    A.    No.
 25    Q.    Did you stop using Causemetics as             Plaintiff’s Response:
 Page 230
                                           60
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 1           part of your name?                            Testimony and evidence is
 2A.         No.                                           admissible under FRE
                                                           404(b)(2) to show motive,
                                                           plan, or knowledge or FRE
                                                           406 to show routine practice
                                                           of Defendant. Defendant
                                                           and Ms. Bodnar knew that
                                                           both portions of the brand
                                                           name “thrive” and
                                                           “causemetics” were
                                                           registered trademarks of
                                                           third parties. Yet Defendant
                                                           continued to use both words
                                                           in complete disregard of
                                                           third-party trademark rights.
                                                           These facts are relevant to
                                                           infringement and
                                                           willfulness.
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (230:15-    Defendant’s Objections:
 24)
                                                           Page 230:15-24:Irrelevant,
 Page 230                                                  Fed. Evid. 401, 402;
 15    Q.    At some point did Thrive                      Prejudicial, Fed. R. Evid.
 16          Causemetics contact the owner of the          403 (unrelated to THRIVE)
 17          Causemetics registration?
 18    A.    I believe our counsel did.                    Plaintiff’s Response:
 19    Q.    Did Thrive Causemetics take
 20          action to attempt to cancel the Causemetics   Testimony and evidence is
 21          trademark?                                    admissible under FRE
 22    A.    I believe our counsel did.                    404(b)(2) to show motive,
 23    Q.    Did you approve that action?                  plan, or knowledge or FRE
 24    A.    I don't recall.                               406 to show routine practice
                                                           of Defendant. Defendant
                                                           and Ms. Bodnar knew that
                                                           both portions of the brand
                                                           name “thrive” and
                                                           “causemetics” were
                                                           registered trademarks of
                                                           third parties. Yet Defendant

                                           61
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                                                            continued to use both words
                                                            in complete disregard of
                                                            third-party trademark rights.
                                                            These facts are relevant to
                                                            infringement and
                                                            willfulness.
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (231:8-13)   Defendant’s Objections:

 Page 231                                                   Page 231:8-13: Irrelevant,
 8     Q.    Did the party settle?                          Fed. Evid. 401, 402;
 9     A.    Yes.                                           Prejudicial, Fed. R. Evid.
 10    Q.    Did TCI pay to gain control over               403 (unrelated to THRIVE)
 11          the Causemetics registration?
 12    A.    Yes.                                           Plaintiff’s Response:
 13    Q.    How much did TCI pay to settle?
                                                            Testimony and evidence is
                                                            admissible under FRE
                                                            404(b)(2) to show motive,
                                                            plan, or knowledge or FRE
                                                            406 to show routine practice
                                                            of Defendant. Defendant
                                                            and Ms. Bodnar knew that
                                                            both portions of the brand
                                                            name “thrive” and
                                                            “causemetics” were
                                                            registered trademarks of
                                                            third parties. Yet Defendant
                                                            continued to use both words
                                                            in complete disregard of
                                                            third-party trademark rights.
                                                            These facts are relevant to
                                                            infringement and
                                                            willfulness.
 Plaintiff’s Designation of K. Bodnar 30(b)(6) (232:1-11)

 Page 232
 1     A.    I believe it was
 2           $125,000.
 ...
                                           62
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 4     Q.     And do you know when that
 5            settlement occurred?
 6     A.     I don't recall the specific
 7            date.
 8     Q.     Do you recall the year?
 9     A.     I believe it was 2019. It
 10           would have been somewhere in the time
 11           range of 2018 to 2020.

 Plaintiff’s Designation of K. Bodnar 30(b)(6) (234:6-18)   Defendant’s Objections:

 Page 234                                                   Page 234:6-7, 9-18:
 6     (Exhibit No. 35 marked for                           Irrelevant, Fed. Evid. 401,
 7     identification.)                                     402; Prejudicial, Fed. R.
 ...                                                        Evid. 403 (relates solely to
 9     Q.     Looking at document Bates number              abandoned color cosmetics
 10           ending in 426, it looks like a Thrive         claim)
 11           Instagram post; is that correct?
 12    A.     Yes.                                          Plaintiff’s Response:
 13    Q.     And it has a hashtag Thrive
 14           Tribe. Do you see that?                       Relevant to show Defendant
 15    A.     Yes.                                          has long used the term
 16    Q.     Is this a Thrive Causemetics                  “Thrive” alone to refer to
 17           Instagram post?                               itself, along with the term
 18    A.     Yes.                                          “Thrive Tribe” which was
                                                            utilized by Plaintiff well
                                                            before Defendant, which
                                                            supports a finding of false
                                                            designation of origin or
                                                            infringement based on
                                                            confusion as to the
                                                            affiliation of the parties.
 Plaintiff’s Designation of Ned Menninger Rule 30(b)(6) Deposition
 Plaintiff’s Designation of N. Menninger 30(b)(6) (7:12-
 14)

 Page 7
 12    Q.     Mr. Menninger, will you please state your

                                            63
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 13           full name for the record.
 14    A.     It is Ned Anthony Menninger.

 Plaintiff’s Designation of N. Menninger 30(b)(6) (35:22-
 36:3)

 Page 35
 22    Q.     What is your job title at Thrive
 23           Causemetics?
 24    A.     VP or vice president of finance.
 25    Q.     And how long have you been at Thrive
 Page 36
 1            Causemetics?
 2     A.     Two years as a full-time employee and
 3            prior -- the two years prior I was a
              consultant.

 Plaintiff’s Designation of N. Menninger 30(b)(6) (36:10-
 12)

 Page 36
 10    Q.     And what are your job duties at Thrive
 11           Causemetics?
 12    A.     Financial reporting.

 Plaintiff’s Designation of N. Menninger 30(b)(6) (38:11-
 19)

 Page 38
 11    (EXHIBIT 2, remotely introduced
 12    and provided electronically to
 13    the court reporter.)
 ...
 15    Q.    Do you recognize this document?
 16    A.    I do.
 17    Q.    And what is this document?
 18    A.    It is the financial information that was
 19          provided to plaintiff's counsel.


                                            64
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 Plaintiff’s Designation of N. Menninger 30(b)(6) (38:23-
 25)

 Page 38
 23    Q.    Did you create -- did you create this
 24          document?
 25    A.    Yes.

 Plaintiff’s Designation of N. Menninger 30(b)(6) (39:8-
 25)

 Page 39
 8     Q.    Okay. And I'm not going to go through
             every
 9           single line item in this entire spreadsheet, by
             the
 10          way. I'm just going to go through a few to
             see if we
 11          can -- using representative examples --
             understand what
 12          is going on here.
 13          Does that make sense?
 14    A.    Yes.
 15    Q.    So for Foundation Infinity Waterproof Lash
 16          Adhesive, it says "Sum of Net Revenue,
             $40,672." Do
 17          you see that?
 18    A.    Yes.
 19    Q.    Okay. And how did you determine this
 20          number?
 21    A.    It would be the number of units multiplied
 22          by the MSRP or what we'd call our retail
             sales price.
 23    Q.    What program did you use to create this
 24          document?
 25    A.    This was prepared in Excel.

 Plaintiff’s Designation of N. Menninger 30(b)(6) (47:5-       Defendant’s Objections:
 25)
                                            65
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                                                            Page 47:5-6, 8, 10-14, 17-
 Page 47                                                    18: Irrelevant, Fed. R. Evid.
 5     Q.    Mr. Menninger, does Thrive Causemetics         401, 402; No foundation,
 6           manufacture its own products?                  Fed. R. Evid. 602; Beyond
 ...                                                        Witness’s Designated Rule
 8     A.    We do not.                                     30(b)(6) Topics, Fed. R.
 ...                                                        Civ. P. 30(b)(6), Fed. R.
 10    Q.    Who manufactures the products for Thrive       Evid. 602
 11          Causemetics?
 12    A.    Various, depending on the product.             Plaintiff’s Response:
 13    Q.    Are they manufactured in the U.S. or
             outside                                        Manufacturing practices are
 14          of the United States?                          relevant to asserted
 ...                                                        deductible costs, a noticed
 17    A.    Again, it varies depending on                  Rule 30(b)(6) topic.
 18          the product.
 ...
 22    Q.    The landed costs and cost of goods sold are
 23          manufacturing costs from third parties; is
             that
 24          correct?
 25    A.    Yes.

 Plaintiff’s Designation of N. Menninger 30(b)(6) (55:23-
 56:22)

 Page 55
 23    Q.    Okay. Sum of Other Overhead.
 24    A.    Other overhead would be every --
             everything
 25          else that hits our income statement.
 Page 56
 1     Q.    Like what?
 2     A.    Like rent, salaries, what it costs to
 3           operate the business --
 4     Q.    Okay.
 5     A.    -- that isn't specifically included in these
 6           other -- in the other categories.
 7     Q.    Okay. And you listed rent, salaries. What

                                             66
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 8           else appears in sum of other overhead?
 9     A.    Well, if it were now, it would be legal
 10          fees, so anything related to -- that is not
             specific to
 11          COGS, ad spend, merchant fees, or Shopify.
 12    Q.    Okay. So legal fees, salary, rent. What
 13          else?
 14    A.    It would be office -- other office expenses.
 15          Generally we would call this general --
             general -- G&A,
 16          general administrative costs.
 17    Q.    Would charitable donations be on here?
 18    A.    I -- yes, it would be included in there.
 19    Q.    Okay. What else is included in here?
 20    A.    Travel, entertainment. Again, it's all
 21          non -- it's any other cost that isn't included
             in the
 22          other four categories.

 Plaintiff’s Designation of N. Menninger 30(b)(6) (57:1-
 58:7)

 Page 57
 1     Q.    So what else is included there?
 2     A.    It's going to be -- there -- any sort of
 3           professional fees beyond legal, say tax
             return
 4           preparation, items like that. It would be
             insurance.
 5           Again, all salaries and benefits would be
             included in
 6           there. As you say, the charitable donations
             would be
 7           there.
 8     Q.    Would taxes be in there?
 9     A.    I'm sorry, say again?
 10    Q.    Would taxes be in -- like taxes paid by the
 11          company?
 12    A.    Yes.

                                            67
Case 2:20-cv-09091-PA-AS Document 132 Filed 10/15/21 Page 71 of 124 Page ID #:6552




 13    Q.    So income tax is in there?
 14    A.    Yes.
 15    Q.    Okay. And how did you allocate $12,880
             sum
 16          of other overhead to Foundation Infinity
             Waterproof
 17          Lash Adhesive?
 18    A.    Similar to the other categories in that if I
 19          sold 500, divided by total sale of 20,000, so
             5 percent
 20          of the total other overhead costs would be --
             would
 21          have been allocated to the lash adhesive
             products.
 22    Q.    So if one particular product is 5 percent of
 23          Thrive Causemetics' entire sales, then it
             would get a 5
 24          percent proportion of ad spend and sum of
             Shopify and
 25          sum of other overhead costs; is that correct?
 Page 58
 ...
 2     A.    Yes.
 ...
 5     Q.    Okay. And is that correct for every product
 6           on this spreadsheet, that same calculation
             correct?
 7     A.    Yes.

 Plaintiff’s Designation of N. Menninger 30(b)(6) (60:9-
 20)

 Page 60
 9     Q.    Okay. For the year 2020, how much did
 10          Thrive Causemetics spend on advertising in
             total?
 11    A.    Well, it's going to --
 ...
 13    A.    It's in the sheet that's

                                           68
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 14          the -- it would be the second to last, I
             believe, or
 15          third to last sheet. Total ad spend incurred
             for 2020
             16was 77 thousand, $26,159.
 ...
 18    Q.    Do you mean $77,026,159?
 19    A.    Correct. Yes. I misspoke. It was
 20          $77,026,159.

 Plaintiff’s Designation of N. Menninger 30(b)(6) (61:10- Defendant’s Objections:
 23)
                                                             Page 61:10-12: No
 Page 61                                                     foundation, Fed. R. Evid.
 10     Q.    And would Causemetics' advertising spend 602
 11           successfully generate revenue?
 12     A.    Yes.                                           Plaintiff’s Response:
 Page 61
 17     Q.    Okay. And if we just look at the 2020          Witness is Defendant’s
 18           period, is this a list of every single product CFO who clearly
              that                                           demonstrated personal
 19           Thrive Causemetics sold in 2020?               knowledge regarding
 20     A.    This is a listing of all color cosmetics.      Defendant’s advertising and
 21     Q.    Okay. So what products are left off of this    revenue generation.
 22           list?
 23     A.    Skin care.

 Plaintiff’s Designation of N. Menninger 30(b)(6) (62:12-
 63:1)

 Page 62
 12    Q.    Okay. Do you differentiate between
 13          marketing and promotional expenses and
             advertising
 14          expenses?
 15    A.    Yes. The paid ads --
 16    Q.    And how --
 17    A.    Go ahead.
 18    Q.    No, no. Please. Go ahead.
                                            69
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 19    A.    To answer your question, paid ad spend is
 20          that amount which is paid to the social
             media and
 21          search engine platforms. For example, it's
             what's paid
 22          to Facebook, Instagram, Google, Microsoft
             and others to
 23          run the ads specifically to generate revenue.
             Other
 24          marketing expenses would be PR, other --
             maybe branding
 25          other items that aren't included as -- in the
             paid ad
 Page 63
 1           spend calculation.

 Plaintiff’s Designation of N. Menninger 30(b)(6) (65:7-     Defendant’s Objections:
 66:5)
                                                             Page 65:8-9, 11, 18-21;
 Page 65                                                     66:5: Beyond Witness’s
 7     Q.    So -- so no Thrive Causemetics' skin care       Designated Rule 30(b)(6)
 8           products are sold directly from your office     Topics, Fed. R. Civ. P.
             building                                        30(b)(6), Fed. R. Evid. 602
 9           where you pay rent; right?
 ...                                                         Plaintiff’s Response:
 11    A.    Correct. No –
 ...                                                         Rent paid for office space
 18    A.    No authorized sales.                            and use of such space is
 19    Q.    Okay. For this office space that you pay        relevant to asserted
 20          rent for, would you distribute products from    deductible costs, a noticed
             this                                            Rule 30(b)(6) topic.
 21          office space?
 ...
 Page 66
 ...
 5     A.    The answer is no.

 Plaintiff’s Designation of N. Menninger 30(b)(6) (67:12-
 22)
                                           70
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 Page 67
 12    (EXHIBIT 3, remotely introduced
 13    and provided electronically to
 14    the court reporter.)
 ...
 16    Q.    Do you recognize this document?
 17    A.    Yes.
 18    Q.    Did you create this document?
 19    A.    Yes.
 20    Q.    When did you create this document?
 21    A.    I believe it was in March of this year, of
 22          2021.

 Plaintiff’s Designation of N. Menninger 30(b)(6) (68:6-
 15)

 Page 68
 6     Q.     Was this document made in Excel?
 7     A.     Yes.
 8     Q.     And what resources did you consult in order
 9            to gather the information necessary to put
              together the
 10           numbers in this document?
 ...
 13    A.     Similar to the spreadsheets
 14           for color cosmetics. We utilize Shopify and
              our
 15           financial statements.

 Plaintiff’s Designation of N. Menninger 30(b)(6) (68:21-
 25)

 Page 68
 21    Q.     Okay. How did you determine which
              products
 22           to include from this spreadsheet and which
              to exclude?
 ...
                                            71
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 24    A.    These are the products that
 25          are listed on our website categorized as skin
             care.

 Plaintiff’s Designation of N. Menninger 30(b)(6) (69:9-
 19)

 Page 69
 9     Q.    Let's examine the column entitled Net
 10          Revenue. As an example, let's start with
             Overnight
 11          Sensation Brightening Sleeping Mask at the
             very top.
 12          It says, "Net Revenue, $1,023,597." How
             was that
 13          number determined?
 ...
 16    A.    As with the other
 17          spreadsheets, it was determined based off of
             -- from
 18          using information provided by Shopify.
             This is total
 19          units times the retail price.

 Plaintiff’s Designation of N. Menninger 30(b)(6) (70:7-
 11)

 Page 70
 7     Q.    And is that the same answer for every
 8           product listed, the net revenue for Overnight
             Sensation
 9           Brightening Mask is determined and
             calculated the same
 10          way as for every -- every product on this
             spreadsheet?
 11    A.    Yes.

 Plaintiff’s Designation of N. Menninger 30(b)(6) (72:12-
 73:6)
                                           72
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 Page 72
 12    Q.    So the way you determined that $210,505
             was
 13          spent in advertising for the Overnight
             Sensation
 14          Brightening Sleep Mask is simply that you
             just added up
 15          the total net revenue from this product and
             then did a
 16          proportion of the total ad spend of the
             company for a
 17          year and attributed that much to this
             product; is that
 18          correct?
 ...
 21    A.    That is correct how that
 22          number was determined --
 ...
 24          -- but I would add that we do
 25          advertise for all of our products.
 Page 73
 ...
 2     Q.    Okay. When you say you advertise for all of
 3           your products, what do you mean exactly?
 4     A.    Meaning all of our products are featured in
 5           one way or another in our paid ad -- in our
             paid
 6           advertisements.

 Plaintiff’s Designation of N. Menninger 30(b)(6) (76:4-
 77:17)

 Page 76
 4     Q.    Now let's move on to the Other Overhead
 5           column, and I'm asking about every product
             on here
 6           because you have said that everything is
             calculated the

                                            73
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 7          same.
 8          So for this entire spreadsheet, what does
 9          other overhead mean?
 ...
 12    A.   It is the same costs as I
 13         explained in -- for color cosmetics, which is
            salary,
 14         rents, professional fees, travel and
            entertainment.
 15         They are other general and administrative-
            type expenses
 16         and all that are non-COGS specific, ad
            spend, merchant
 17         fees and/or -- and including -- that does not
            include
 18         the Shopify fees.
 ...
 20    Q.   Do the same answers that you gave to the
 21         color cosmetics other overhead questions
            apply to this
 22         spreadsheet as well?
 23    A.   Yes.
 24    Q.   So this would include legal fees and
 25         charitable donations, rent, salary; is that
            correct?
 Page 77
 1     A.   Yes.
 2     Q.   Would it include bonuses to managers, like,
 3          for example, a bonus paid to Karissa Bodnar
            at the end
 4          of the year? Would that appear here?
 ...
 7     A.   It's going to include all
 8          salaries. It's all cost -- non -- that wouldn't
            be in
 9          those other categories.
 ...
 11    Q.   What percentage of Thrive Causemetics'
            total

                                             74
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 12          revenue for 2020 was just the skin care
             products?
 ...
 15    A.    Well, it's -- the total -- our
 16          total revenue was roughly 168 million, and
             color
 17          cosmetics was roughly 20 million of that
             amount.

 Defendant’s Counter-Designation of Ned Menninger
 (77:19-24):

 Page 77
 19    Q.    Do you mean color cosmetics is the larger
 20          number and skin care is the smaller
             number?
 21    A.    I'm sorry.Yeah, color cosmetics is the
 22          larger number. Color cosmetics -- of the
             168 million,
 23          approximately 20.7 million of that amount
             was skin
 24          care.

 Plaintiff’s Designation of N. Menninger 30(b)(6) (77:25-
 78:6)

 Page 77
 25    Q.    And when you're distinguishing between
             color
 Page 78
 1           cosmetics and skin care products, how do
             you understand
 2           color cosmetics to be different from skin
             care
 3           products?
 4     A.    Again, this is -- the skin care are those
 5           items that are listed on our website and
             marketed as
 6           skin care in that product category.
                                           75
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 Plaintiff’s Designation of N. Menninger 30(b)(6) (82:14-
 23)

 Page 82
 14    Q.    Do the Thrive Causemetics' legal fees from
 15          the class action lawsuit that was filed
             against it
 16          appear in the other overhead costs?
 17    A.    Yes.
 18    Q.    Does Thrive Causemetics have R&D,
             research
 19          and development, costs?
 20    A.    Yes.
 21    Q.    And do those appear in the other overhead
 22          column?
 23    A.    Yes.

 Plaintiff’s Designation of N. Menninger 30(b)(6) (91:13- Defendant’s Objections:
 17)
                                                          Page 91:13-17: Irrelevant,
 Page 91                                                  Fed. R. Evid. 401, 402;
 13. Q.       Is it your                                  Prejudicial, Fed. R. Evid.
 14           understanding that Thrive Causemetics paid 403 (unrelated to THRIVE)
              Jody Weiss
 15           $125,000 to purchase the Causemetics        Plaintiff’s Response:
              trademark from
 16           her?                                        Testimony and evidence is
 17     A.    Yes.                                        admissible under FRE
                                                          404(b)(2) to show motive,
                                                          plan, or knowledge or FRE
                                                          406 to show routine practice
                                                          of Defendant. Defendant
                                                          knew that both portions of
                                                          the brand name “thrive” and
                                                          “causemetics” were
                                                          registered trademarks of
                                                          third parties. Yet Defendant
                                                          continued to use both words
                                           76
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                                                           in complete disregard of
                                                           third-party trademark rights.
                                                           These facts are relevant to
                                                           infringement and
                                                           willfulness.
 Plaintiff’s Designation of N. Menninger 30(b)(6) (97:6-   Defendant’s Objections:
 14)
                                                           Page 97:6-8, 10-14:
 Page 97                                                   Irrelevant, Fed. R. Evid.
 6     (EXHIBIT 5, remotely introduced                     401, 402; Prejudicial, Fed.
 7     and provided electronically to                      R. Evid. 403 (unrelated to
 8     the court reporter.)                                THRIVE)
 ...
 10    Q.    Do you recognize this document?               Plaintiff’s Response:
 11    A.    Yes.
 12    Q.    What is this document?                       Testimony and evidence is
 13    A.    It's a settlement agreement with Jody Weiss  admissible under FRE
 14          for Causemetics -- Cause-Metics.             404(b)(2) to show motive,
                                                          plan, or knowledge or FRE
                                                          406 to show routine practice
                                                          of Defendant. Defendant
                                                          knew that both portions of
                                                          the brand name “thrive” and
                                                          “causemetics” were
                                                          registered trademarks of
                                                          third parties. Yet Defendant
                                                          continued to use both words
                                                          in complete disregard of
                                                          third-party trademark rights.
                                                          These facts are relevant to
                                                          infringement and
                                                          willfulness.
 Plaintiff’s Designation of N. Menninger 30(b)(6) (97:19- Defendant’s Objections:
 98:6)
                                                          Page 97:19-20, 23-24; 98:2,
 Page 97                                                  5-6: Irrelevant, Fed. R.
 19     Q.    Why did Thrive Causemetics enter into this Evid. 401, 402; Prejudicial,
 20           particular settlement agreement with Jody   Fed. R. Evid. 403 (unrelated
              Weiss?                                      to THRIVE)
                                           77
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 ...
 23    A.    We wanted sole ownership of                     Plaintiff’s Response:
 24          the Causemetics mark.
 Page 98                                                     Testimony and evidence is
 ...                                                         admissible under FRE
 2     Q.    And why did it pay $125,000 for it?             404(b)(2) to show motive,
 ...                                                         plan, or knowledge or FRE
 5     A.    That was agreed-upon                            406 to show routine practice
 6           settlement amount.                              of Defendant. Defendant
                                                             knew that both portions of
                                                             the brand name “thrive” and
                                                             “causemetics” were
                                                             registered trademarks of
                                                             third parties. Yet Defendant
                                                             continued to use both words
                                                             in complete disregard of
                                                             third-party trademark rights.
                                                             These facts are relevant to
                                                             infringement and
                                                             willfulness.
 Plaintiff’s Designation of N. Menninger 30(b)(6)
 (112:23-113:5)

 Page 112
 23    Q.    The monies that Thrive Causemetics spends
             on
 24          advertising, is it all online advertising, or
             does it
 25          do advertising in other mediums as well?
 Page 113
 ...
 2     A.    The majority is online, but we
 3           also do newsletters, mail order -- I guess
             mail order
 4           postcards, and then we have begun some
             TV advertising
 5           as well.



                                           78
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 Plaintiff’s Designation of N. Menninger 30(b)(6)
 (113:15-114:1)

 Page 113
 15    Q.    When was the first time that Thrive
 16          Causemetics incurred costs on advertising
             on
 17          television?
 18    A.    It would be when we first began advertising,
 19          which I believe to be in the third quarter of
             2020.
 20    Q.    And when you say most -- I don't want to
 21          misstate your testimony, but I believe you
             said
 22          something along the lines of most of
             Causemetics'
 23          advertising is done online, so could you
             clarify what
 24          you mean as -- closer to like 99 percent, or
             what do
 25          you mean by most of it?
 Page 114
 1     A.    I would say greater than 80 percent.

 Plaintiff’s Designation of N. Menninger 30(b)(6) (114:8-
 23)

 Page 114
 8     Q.    Okay. In 2019 -- let's talk about 2019
 9           alone. So we'll talk about pretelevision days.
 10          In 2019, what percentage of Thrive
 11          Causemetics' advertising revenue was spent
             on online
 12          advertising?
 13    A.    Wait. Did you say advertising revenue?
 14    Q.    Sorry. Advertising expenditures, costs.
 15    A.    Okay. I'm sorry. I just wanted to make
 16          sure my hearing wasn't -- I would say above
             95 percent.

                                           79
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 17    Q.    Okay. And was that above 95 percent for
 18          every year before 2019, as well?
 19    A.    Yes.
 20    Q.    Okay. And is the only reason it's closer to
 21          85 percent now because of TV advertising?
 22    A.    TV and the -- the beginning of our -- of the
 23          newsletters and the -- the direct mail.

            Plaintiff’s Designation of Karissa Bodnar Personal Deposition
 Plaintiff’s Designation of K. Bodnar (4:10-12)

 Page 4
 10    Q.    Good afternoon, Ms. Bodnar. Can you state
             your name
 11          for the record, please?
 12    A.    Yes. My name is Karissa Elizabeth Bodnar.

 Plaintiff’s Designation of K. Bodnar (5:8-19)

 Page 5
 8     Q.    Did you found Thrive Causemetics?
 9     A.    Yes.
 10    Q.    When?
 11    A.    I believe 2014.
 12    Q.    Do you have an ownership interest in Thrive
 13          Causemetics today?
 14    A.    Yes.
 15    Q.    What percentage of TCI do you own?
 16    A.    I don't know specifically.
 17    Q.    Do you have an estimate as to what
             percentage you
 18          own?
 19    A.    More than half.

 Plaintiff’s Designation of K. Bodnar (6:5-7)

 Page 6


                                           80
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 5     Q.    Ms. Bodnar, does Brendan Gardner-Young
             have an
 6           ownership interest in TCI today?
 7     A.    Yes.

 Plaintiff’s Designation of K. Bodnar (6:24-7:3)          Defendant’s Objections:

 Page 6                                                  Page 6:24-25; 7:3:
 24    Q.    Do either of your parents have an ownership Irrelevant, Fed. Evid. 401,
             interest                                    402; Prejudicial, Fed. R.
 25          in TCI today?                               Evid. 403
 Page 7
 ...                                                      Plaintiff’s Response:
 3     A.    Yes.
                                                          Relevant to witness bias that
                                                          both parents also have
                                                          ownership in Defendant.
                                                          United States v. Hankey,
                                                          203 F.3d 1160, 1171 (9th
                                                          Cir. 2000) (“Evidence is
                                                          relevant . . . if it has a mere
                                                          tendency to impeach a
                                                          witness' credibility by a
                                                          showing of bias”).

 Plaintiff’s Designation of K. Bodnar (10:16-23)

 Page 10
 16    Q.    At the time you chose the name Thrive, did
             you
 17          intend to sell skin care products?
 18    A.    I don't remember.
 19    Q.    You may have had that intent at the time
             you founded
 20          the company?
 ...
 22          You can answer again.
 23    A.    I don't remember.


                                           81
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 Plaintiff’s Designation of K. Bodnar (13:7-13)          Defendant’s Objections:

 Page 13                                                 Page 13:10-13: Asked and
 7     Q.    In 2014 had you considered selling Thrive   answered (30(b)(6)
 8           Causemetics branded skin care products?     transcript page 15), Fed. R.
 9     A.    I don't remember.                           Evid. 611(a)
 10    Q.    Before you started selling Thrive
             Causemetics'                                Plaintiff’s Response:
 11          branded products, did you do any kind of
             search to see if                            Question does not waste
 12          the Thrive Causemetics name was being       time or harass or unduly
             used?                                       embarrass the witness. No
 13    A.    I don't remember.                           basis to strike under FRE
                                                         611(a).
 Plaintiff’s Designation of K. Bodnar (13:24-14:4)       Defendant’s Objections:

 Page 13                                                   Page 13:24-14:4: Asked and
 24    Q.    Ms. Bodnar, so we're clear as to time, before answered (individual
             you                                           transcript page 13 and
 25          started using the Thrive Causemetics name 30(b)(6) transcript page 57-
             on products                                   58), Fed. R. Evid. 611(a)
 Page 14
 1           that you were selling, did you ask anyone   Plaintiff’s Response:
             else to do a                                Question does not waste
 2           search to see if the Thrive Causemetics     time or harass or unduly
             name was being                              embarrass the witness. No
 3           used?                                       basis to strike under FRE
 4     A.    I don't remember.                           611(a).

 Plaintiff’s Designation of K. Bodnar (14:20-15:5)       Defendant’s Objections:

 Page 14                                                Page 14:20-15:5: Irrelevant,
 20    Q.    At some later time did you become aware of Fed. Evid. 401, 402;
             someone                                    Prejudicial, Fed. R. Evid.
 21          using the trademark Cause-Metics spelled   403 (unrelated to THRIVE)
             C-A-U-S-E,
 22          hyphen, M-E-T-I-C-S?                       Plaintiff’s Response:
 23    A.    Yes.
 24    Q.    When did you learn about that?
                                           82
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 25    A.    I don't remember.                             Testimony and evidence is
 Page 15                                                   admissible under FRE
 1     Q.    Do you know how you first learned that        404(b)(2) to show motive,
             information?                                  plan, or knowledge or FRE
 2     A.    I don't remember.                             406 to show routine practice
 3     Q.    Do you know if you received that              of Defendant. Defendant
             information in a                              and Ms. Bodnar knew that
 4           trademark search?                             both portions of the brand
 5     A.    I don't remember.                             name “thrive” and
                                                           “causemetics” were
                                                           registered trademarks of
                                                           third parties. Yet Defendant
                                                           continued to use both words
                                                           in complete disregard of
                                                           third-party trademark rights.
                                                           These facts are relevant to
                                                           infringement and
                                                           willfulness.
 Plaintiff’s Designation of K. Bodnar (16:2-13)            Defendant’s Objections:

 Page 16                                                   Page 16:2-13: Irrelevant,
 2     Q.    Did you take any steps to contact the owner   Fed. Evid. 401, 402;
             of the                                        Prejudicial, Fed. R. Evid.
 3           Cause-Metics mark?                            403 (unrelated to THRIVE)
 4     A.    I honestly don't remember.
 5     Q.    Did you ask the owner of the Cause-Metics     Plaintiff’s Response:
             mark for
 6           permission to use the mark in your brand?     Testimony and evidence is
 7     A.    I don't remember.                             admissible under FRE
 8     Q.    Did you ever communicate with the owner       404(b)(2) to show motive,
             of the                                        plan, or knowledge or FRE
 9           Cause-Metics mark?                            406 to show routine practice
 10    A.    I don't remember.                             of Defendant. Defendant
 11    Q.    As a result of learning of the Cause-Metics   and Ms. Bodnar knew that
             mark,                                         both portions of the brand
 12          did you make any changes to TCI's name?       name “thrive” and
 13    A.    No.                                           “causemetics” were
                                                           registered trademarks of
                                                           third parties. Yet Defendant

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                                                           continued to use both words
                                                           in complete disregard of
                                                           third-party trademark rights.
                                                           These facts are relevant to
                                                           infringement and
                                                           willfulness.
 Plaintiff’s Designation of K. Bodnar (20:5-13)            Defendant’s Objections:

 Page 20                                                   Page 20:5-13: Irrelevant,
 5     Q.    Do you know who owns the Cause-Metics         Fed. Evid. 401, 402;
             mark now?                                     Prejudicial, Fed. R. Evid.
 6     A.    Thrive Causemetics owns the trademark         403 (unrelated to THRIVE)
             Causemetics.
 7     Q.    And how did Thrive Causemetics come to        Plaintiff’s Response:
             own that
 8           trademark?                                    Testimony and evidence is
 9     A.     I believe we purchased it.                   admissible under FRE
 10    Q.    From whom?                                    404(b)(2) to show motive,
 11    A.    I believe it was Jody R. Weiss.               plan, or knowledge or FRE
 12    Q.    When? When was that purchase completed?       406 to show routine practice
 13    A.    I don't remember.                             of Defendant. Defendant
                                                           and Ms. Bodnar knew that
                                                           both portions of the brand
                                                           name “thrive” and
                                                           “causemetics” were
                                                           registered trademarks of
                                                           third parties. Yet Defendant
                                                           continued to use both words
                                                           in complete disregard of
                                                           third-party trademark rights.
                                                           These facts are relevant to
                                                           infringement and
                                                           willfulness.
 Plaintiff’s Designation of K. Bodnar (23:5-13)

 Page 23
 5     Q.    When did TCI start selling filtered effects
 6           blurring primer?


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 7     A.    It was 2020 I believe. It could have been
             2019, but
 8           it's somewhere in that range.
 9     Q.    Does TCI advertise filtered effects blurring
             primer
 10          as a skin care product?
 ...
 13    A.    I don't know.

 Plaintiff’s Designation of K. Bodnar (24:6-8)

 Page 24
 6     Q.    Have you ever seen the contents for filtered
             effects
 7           blurring primer on TCI's website?
 8     A.    Honestly, I don't know.

 Plaintiff’s Designation of K. Bodnar (24:23-25:19)

 Page 24
 23    Q.    Do you know if TCI has ever advertised
             filter
 24          effects blurring primer as a makeup plus
             skin care
 25          hybrid?
 Page 25
 ...
 2     A.    I don't know specifically.
 3     Q.    Are you familiar with the content of TCI's
             website?
 ...
 5     A.    What content?
 6     Q.    The content regarding filtered effects
             blurring
 7           primer.
 ...
 9     A.    I am not -- I don't know. I don't know.
 10    Q.    Do you have any reason to doubt the
             contents in this
                                           85
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 11          exhibit appeared on TCI's website?
 ...
 14    A.    I don't know.
 15    Q.    Does TCI sell any products that it refers to
             as
 16          makeup plus skin care hybrid?
 ...
 19    A.    I don't know.

 Plaintiff’s Designation of K. Bodnar (35:6-9)

 Page 35
 6     Q.    Do you know what the first thing you
             learned about
 7           Thrive Natural Care was?
 8     A.    I don't remember the first thing that I
             learned
 9           about them, no.

 Plaintiff’s Designation of K. Bodnar (35:18-22)            Defendant’s Objections:

 Page 35                                                    Page 35:18-19, 22: Asked
 18    Q.    Do you recall if you asked Thrive Natural      and answered (30(b)(6)
             Care for                                       transcript), Fed. R. Evid.
 19          permission to use the Thrive name in TCI's     611(a)
             name?
 ...                                                        Plaintiff’s Response:
 22    A.    I don't know.
                                                            Question does not waste
                                                            time or harass or unduly
                                                            embarrass the witness. No
                                                            basis to strike under FRE
                                                            611(a). Ms. Bodnar is a key
                                                            witness and Plaintiff should
                                                            be permitted to admit
                                                            testimony demonstrating
                                                            she does not recall
                                                            important issues in this
                                                            case.
                                            86
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 Plaintiff’s Designation of K. Bodnar (36:23-37:10)       Defendant’s Objections:

 Page 36                                                  Page 36:23-37:4; 37:7-10:
 23    Q.    Do you recall reaching out to Thrive Natural Asked and answered
             Care                                         (30(b)(6) transcript page
 24          asking for permission to use the word        197-198), Fed. R. Evid.
             Thrive as part of                            611(a)
 25          our brand name?
 Page 37                                                  Plaintiff’s Response:
 1     A.    No, I don't.
 2     Q.    Do you know why you would have reached Question does not waste
             out to Thrive                                time or harass or unduly
 3           Natural Care asking for permission to use    embarrass the witness. No
             the word Thrive                              basis to strike under FRE
 4           as part of your brand name?                  611(a). Ms. Bodnar is a key
 ...                                                      witness and Plaintiff should
 7     A.    I don't recall.                              be permitted to admit
 8     Q.    By this time, were you aware of Thrive       testimony demonstrating
             Natural                                      she does not recall
 9           Care's trademark registration?               important issues in this
 10    A.    I don't remember.                            case.

 Plaintiff’s Designation of K. Bodnar (37:20-39:12)       Defendant’s Objections:

 Page 37                                                  Page 37:20-38:2; 38:10-12,
 20    Q.    Do you recall reaching out to Thrive Natural 14-16, 18-23; 39:1-3, 5-10,
             Care at                                      12: Asked and answered
 21          any time after this email exchange in this   (30(b)(6) transcript pages
             exhibit?                                     206, 210, 217, 218), Fed. R.
 22    A.    Again, I don't want to speculate on timing,  Evid. 611(a)
             but I do
 23          recall reaching out to Thrive Natural Care.  Plaintiff’s Response:
 24    Q.    And did you make contact with anyone
             there?                                       Question does not waste
 25    A.    Yes.                                         time or harass or unduly
 Page 38                                                  embarrass the witness. No
 1     Q.    Who?                                         basis to strike under FRE
 2     A.    Alex McIntosh.                               611(a). Ms. Bodnar is a key
 ...                                                      witness and Plaintiff should

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 10    Q.    Did you speak to Mr. McIntosh?                be permitted to admit
 11    A.    Yes.                                          testimony demonstrating
 12    Q.    Why did you call him again?                   she does not recall
 ...                                                       important issues in this
 14    A.    I don't know.                                 case.
 15    Q.    Did you have any specific purpose in mind
             in
 16          contacting him?
 ...
 18    A.    I don't know.
 19    Q.    Did you ask him again for permission to use
             the
 20          Thrive name?
 21    A.    I don't remember.
 22    Q.    Did you discuss with him any terms relating
             to using
 23          the Thrive name?
 ...
 Page 39
 1     A.    I don't remember.
 2     Q.    When you contacted and spoke with Alex
             McIntosh at
 3           that time, was TCI selling skin care
             products?
 ...
 5     A.    I don't know.
 6     Q.    Do you recall telling Alex McIntosh that
             TCI was
 7           selling skin care products?
 8     A.    I don't recall.
 9     Q.    Did you ask for permission to use the
             Thrive name on
 10          skin care products?
 ...
 12    A.    I don't remember.

            Plaintiff’s Designation of Ned Menninger Personal Deposition
 Plaintiff’s Designation of N. Menninger (5:4-6)

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 Page 5
 4     Q.    Mr. Menninger, will you please state your
 5           full name for the record?
 6     A.    It is Ned Anthony Menninger.

 Defendant’s Counter-Designation of Ned Menninger
 (8:9-12):

 Page 8
 9     Q.    You understand that today you're here in
             your
 10          personal capacity and not answering as a
 11          representative of Thrive Causemetics, Inc.;
             correct?
 12    A.    Yes.

 Plaintiff’s Designation of N. Menninger (11:19-21)

 Page 11
 19    Q.    And when did you begin working with
             Thrive
 20          Causemetics in any capacity?
 21    A.    July of 2017. As a contract CFO.

 Plaintiff’s Designation of N. Menninger (11:25-12:2)

 Page 11
 25    Q.    Did you have any experience in the makeup
             or
 Page 12
 1           skin care industries?
 2     A.    No.

 Plaintiff’s Designation of N. Menninger (12:11-15)

 Page 12
 11    Q.    After your contract CFO, what was your
             next
                                          89
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 12          role at Thrive Causemetics?
 13    A.    I was an employee CFO.
 14    Q.    And when -- what month did that occur?
 15    A.    Approximately July of 2019.

 Plaintiff’s Designation of N. Menninger (14:6-11)

 Page 14
 6     Q.    Were you involved in the -- in Thrive
 7           Causemetics's decision to begin selling skin
             care
 8           products?
 9     A.    No.
 10    Q.    Do you know who made that decision?
 11    A.    I do not.

 Defendant’s Counter-Designation of Ned Menninger
 (14:12-13):

 Page 14
 12          I could only speculate. I don't have all the
 13          information in front of me at this time.

 Plaintiff’s Designation of N. Menninger (17:6-20)          Defendant’s Objections:

 Page 17                                                    Page 17:6-8, 11, 13-16, 19-
 6     Q.    Do you know why Ms. Bodnar would have          20:No foundation, Fed. R.
 7           testified at her deposition that you were      Evid. 602; Argumentative,
             involved in                                    Fed. R. Evid. 611(a)
 8           the decision to expand into skin care
             products?                                      Plaintiff’s Response:
 ...
 11    A.    I don't.                                       Relevant to truthfulness of
 ...                                                        Ms. Bodnar’s testimony that
 13    Q.    If Ms. Bodnar said that you and her were       directly contracts testimony
             the                                            by Mr. Menninger.
 14          only people involved in the decision to
             expand into


                                            90
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 15          skin care products, you don't know what she
             was
 16          referring to?
 ...
 19    A.    I was informed about the
 20          decision. But the ultimate decision was hers
             to make.

 Plaintiff’s Designation of N. Menninger (18:9-12)

 Page 18
 9     Q.    Is TCI's skin care line profitable?
 10    A.    Based on the information provided to you or
 11          to -- in this matter that would show that,
             yes, it is
 12          profitable.

 Defendant’s Counter-Designation of Ned Menninger
 (18:13-24):

 Page 18
 13    Q.    Not based on the information that you
             showed
 14          to me, just asking you, on your numbers
              and your
 15          understanding of the company, is the skin
             care line
 16          profitable?
 17    A.    The information I provided to you are one
              and
 18          the same. That is the -- that is our
              information that
 19          ties to our reported financial statements.
 20    Q.    How do you know that the information
             provided
 21          to Thrive Natural Care in this case
             regarding the
 22          revenue profitability at TCI is completely
             accurate?
                                          91
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 23    A.    Because I ensured that all of that
 24          information tied to our reported financial
             statements.

 Plaintiff’s Designation of N. Menninger (18:25-19:6)

 Page 18
 25    Q.    Are skin care products a major source of
 Page 19
 1           TCI's revenue?
 2     A.    Could you clarify "major," please?
 3     Q.    What do you understand the major source of
 4           revenue to be?
 5     A.    They represent approximately 20 percent of
 6           our revenue.

 Plaintiff’s Designation of N. Menninger (19:13-14)

 Page 19
 13    Q.    What is your job title today?
 14    A.    VP of finance.

 Plaintiff’s Designation of N. Menninger (22:7-11)

 Page 22
 7     (Exhibit No. 37 marked for identification.)
 ...
 9     Q.    Mr. Menninger, I'm going to direct you to
 10          Exhibit 37, which is TCI 00030182 through
             184. It is
 11          a three-page exhibit.

 Plaintiff’s Designation of N. Menninger (23:1-14)

 Page 23
 1     Q.    Mr. Menninger, did you create this
             document?
 2     A.    Yes.
 3     Q.    When did you create this document?
                                             92
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 4     A.    In the last couple weeks for this matter.
 5     Q.    How would you create this document?
 6     A.    As I mentioned before, it's utilizing
 7           information from Shopify, our e-commerce
             platform, for
 8           the revenue for every product and our
             financial
 9           statements which tie to our general ledger in
 10          QuickBooks.
 11    Q.    Shopify gives you the revenue and the total
 12          units, and then QuickBooks gives you the
             cost and
 13          advertising spent; is that correct?
 14    A.    Yes. All of the costs are displayed here.

 Plaintiff’s Designation of N. Menninger (24:4-12)

 Page 24
 4     Q.    What program did you use or software did
             you
 5           use to make this document?
 6     A.    Excel.
 7     Q.    Each of the amounts in this document, each
             of
 8           the numbers -- are those manually entered
             by you, or
 9           are they automatically generated?
 10    A.    Everything in the sheet as presented was
 11          manually input. But the information all ties
             to
 12          either Shopify and our general ledger.

 Plaintiff’s Designation of N. Menninger (31:9)

 Page 31
 9     (ExhibitNo. 38 marked for identification.)

 Plaintiff’s Designation of N. Menninger (33:12-25)


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 Page 33
 12    Q.    It's your testimony under oath that all of
 13          these numbers here are 100 percent accurate
             and
 14          correct?
 15    A.    Are you referring to the CC Cream or all --
 16          when you say all --
 17    Q.    30183. I'm referring to this page.
 18    A.    I'm on the wrong page. Excuse me.
 19          As I mentioned before, the revenue is exact
 20          because that ties to Shopify, and the costs
             are
 21          allocated. We don't report it broken out by
             product
 22          in this manner for our purposes, but the sum
             total of
 23          the cost, all of them, tie to our financial
 24          statements. And so I would say, yes, these
             numbers
 25          are accurate to that extent.

 Defendant’s Counter-Designation of Ned Menninger
 (34:1-8):

 Page 34
 1     Q.    Do they tie -- do the costs tie to the
 2           product as shown? You said they tie to
             your financial
 3           statements.
 4     A.    I -- excuse me. Yes. So the sum total of
 5           net income, for instance, for all these
             products and
 6           every other product -- the sum total ties to
             our
 7           financial statements as does the revenue in
             each of
 8           these items.

 Plaintiff’s Designation of N. Menninger (534:9-35:2)
                                           94
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 Page 34
 9     Q.    Putting your financial statements aside,
 10          under penalty of perjury, are these costs in
             all these
 11          columns 100 percent accurate with how
             they track with
 12          each SKU number as represented in this
             document?
 13    A.    They track with each SKU number based on
             how
 14          they have been allocated as a proportion of
             total
 15          units sold. We don't, as a matter of practice,
 16          allocate all these costs on a product basis,
             on a unit
 17          by unit basis. This was prepared for this
             matter, for
 18          this discussion.
 ...
 23    Q.    Why don't you allocate these costs on a unit
 24          by unit basis?
 25    A.    We haven't found it meaningful necessarily,
 Page 35
 1           and we don't have the bandwidth to do that.
             There's
 2           only two people in finance.

 Plaintiff’s Designation of N. Menninger (35:16-21)           Defendant’s Objections:

 Page 35                                                      Page 35:16-19: Irrelevant,
 16    Q.    Is TCI's profit margin greater at the retail     Fed. R. Evid. 401, 402;
 17          level or at the e-commerce level?                Prejudicial, Fed. R. Evid.
 18    A.    We are primarily e-commerce. We did a            403 (relates solely to
             small                                            abandoned color cosmetics
 19          portion through -- we call it wholesale with     claim)
             Ulta at
 20          the end of 2019 and early 2020. It was as        Plaintiff’s Response:
             much a test

                                            95
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 21           operation….                                    That Defendant is primarily
                                                             an e-commerce company is
                                                             relevant to Sleekcraft
                                                             factors and whether the
                                                             parties’ marketing channels
                                                             overlap on the internet.
                                                             While sales at Ulta were
                                                             only color cosmetics, the
                                                             testimony from Mr.
                                                             Menninger regarding
                                                             Defendant being primarily
                                                             e-commerce is not limited
                                                             to color cosmetics.
 Defendant’s Counter-Designation of Ned Menninger
 (35:23) [only if objections to preceding designation are
 overruled]:

 Page 35
 23    A.     We sold a limited number of products to
              Ulta.

 Defendant’s Counter-Designation of Ned Menninger
 (36:1-9) [only if objections to preceding designation are
 overruled]:

 Page 36
 1     BY MR. MCARTHUR:
 2     Q.  Is the profit margin for the sales of your
 3         products -- is that higher at the wholesale
           level, or
 4         is it higher at the --
 5     A.  I don't believe we sold any of the skin care
 6         products to Ulta. I don't have that
            information
 7         completely in front of me at this time, what
           was
 8         included. It was a limited number of
           products for a
 9         very limited period of time.
                                            96
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Plaintiff’s Designation of N. Menninger (36:10-11)

Page 36
10    Q.     Is TCI an e-commerce company?
11    A.     Yes.

Plaintiff’s Designation of N. Menninger (40:10-18)

Page 40
10    Q.     Are the TCI's revenue and profit projections
11           for 2021 higher than they were for 2020?
12    A.     Yes.
13    Q.     Why is that?
14    A.     The overall growth of the business and our
15           increased advertising spend.
16    Q.     Has TCI been increasing advertising spend
17           every year?
18    A.     Yes.

Plaintiff’s Designation of N. Menninger (41:3-12)

Page 41
3     Q.     What percentage of TCI's revenue do you
             spend
4            on advertising?
...
6       A.   If you look right here in
7            roughly -- it's going to be consistent. It's
             going to
8            be between -- overall, it's going to be 50 to
             52
9            percent.
...
11      Q.   30183?
12      A.   Yes.

Plaintiff’s Designation of N. Menninger (42:5-13)


                                            97
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Page 42
5     Q.    Are you saying that 50 percent of all of
6           TCI's revenue is spent on advertising?
...
9     A.    A significant amount of our
10          revenue, yes, is spent on advertising.
...
12    Q.    Is it about 50 percent?
13    A.    Thereabouts, yes. Probably up to 52 percent.

Plaintiff’s Designation of N. Menninger (5:4-6)

Page 42
18    (Exhibit No. 39 marked for identification.)
...
24    Q.    Do you recognize this document,
25          Mr. Menninger?
Page 43
1     A.    Yes.
2     Q.    What is this document?
3     A.    It is the summary of revenue and COGS for
4           each of our skin care products by SKU from
            inception
5           in 2018 through May 31st of 2021.

Plaintiff’s Designation of N. Menninger (48:17-50:23)      Defendant’s Objections:

Page 48                                                    Page 49: 11-14, 17: No
17    Q.    Okay. So for Moisture-Enriched Hand            foundation, Fed. R. Evid.
18          Sanitizer, the total revenue is $168,066 for   602
            2020 is
19          that correct?                                  Page 49:19-50:10; 50:13-
20    A.    Yes.                                           23: Asked and answered
...                                                        (30(b)(6) transcript pages
23    Q.    You claim that TCI spent $836,621 to           55-57), Fed. R. Evid. 611(a)
24          advertise this product; is that correct?
...                                                        Plaintiff’s Response:
Page 49
4     A.    What I said before is that's
                                           98
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5            the allocated cost based on the number of      Question is answered in
             units sold.                                    much more detail here than
...                                                         in prior testimony. Question
7       Q.   So ad spend is allocated based on the          does not waste time or
             number                                         harass or unduly embarrass
8            of units sold and not based off of revenue; is the witness. No basis to
             that                                           strike under FRE 611(a).
9            correct?
10      A.   Correct.
11      Q.   Under those calculations, if something has a
12           lot of units sold but low revenue, would that
             have a
13           disproportionate amount of ad spend
             allocated to it in
14           that circumstance?
...
17      A.   In mass format, yes.
...
19      Q.   Is other overhead calculated the same way?
20      A.   It's calculated as -- based on the number of
21           units sold as a percentage of total units sold
             for
22           each product.
23    Q.     So for the other overhead column on this
24           page, what is included in other overhead?
25    A.     It's all costs -- not specifically identified
Page 50
1            in the other columns, all costs to operate the
2            business.
3     Q.     Please give me examples of what those
             costs
4            are.
5       A.   It could be rent, travel, the employee costs,
6            public relations, donations.
7       Q.   What else?
8       A.   It could be -- it would be -- if we had some
9            bank fees or other consulting, other
             resources,


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10          customer support vendors, legal -- things
            like that.
...
13    Q.    Taxes?
14    A.    Yes, it could.
15    Q.    So every single cost in any context incurred
16          by Thrive Causemetics that's not already
            allocated to
17          one of these other columns is other
            overhead; is that
18          correct?
19    A.    Yes.
20    Q.    And that is true for all of the spread sheets
21          we've seen today; is that correct?
22    A.    The explanation that it includes all the --
23          yes, it does.

Plaintiff’s Designation of N. Menninger (59:5-25)           Defendant’s Objections:

Page 59                                                     Page 59:5-25: No
5     Q.    What are color cosmetics?                       foundation, Fed. R. Evid.
6     A.    It's -- I'm not sure I understand the -- as     602
7           it relates to Thrive or in general?
8     Q.    In general.                                     Plaintiff’s Response:
9     A.    It would be makeup related products that
            have                                            Witness has been CFO for
10          either color shades and/or other pigments       Defendant for several years
            that would                                      and demonstrated
11          be used to enhance or what you would use        knowledge regarding its
            for what we                                     products and product
12          call makeup to help the individuals on a        categories.
            presentation
13          basis or help their appearance.
14    Q.    Are color cosmetics distinct from skin care
15          products?
16    A.    As I understand it, yes.
17    Q.    How so?
18    A.    As I understand it, it would be -- skin care


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19           would be like a lotion that I use that I put on
             my
20           hand for instance because I have a cut, but
             that's not
21           altering the appearance at all of said cut. In
22           cosmetics, we would have colors and other
             associated
23           features that would be very distinct from
             that of a --
24           what I would call skin care/lotion in the
             case of what
25           I use.

Plaintiff’s Designation of N. Menninger (60:12-14)

Page 60
12    Q.     Do you know what the demographic target
13           audience is for TCI's products?
14    A.     Women 15 to 80.

Defendant’s Counter-Designation of Ned Menninger
(61:2-4):

Page 61
2     Q.     So are all of TCI's products sold in either
3            the United States or in Canada? Is that
             correct?
4       A.   Correct.

Plaintiff’s Designation of N. Menninger (61:5-10)

Page 61
5     Q.     And it would be accurate to say that the
6            overwhelming majority are sold in the
             United States?
7       A.   Closer to 97 percent in the U.S.
8       Q.   About 97 percent of TCI's products are sold
9            in the United States; is that correct?
10      A.   Yes.
                                            101
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Plaintiff’s Designation of N. Menninger (61:14-23)

Page 61
14    Q.     Is there a particular income bracket that TCI
15           advertises to?
16    A.     No.
17    Q.     Is there a particular race that TCI
18           advertises to?
19    A.     No.
20    Q.     Is TCI's target demographic women in the
21           United States age 15 to 80 of any income, of
             any race?
22           Is that correct?
23      A.   Yes.

Defendant’s Counter-Designation of Ned Menninger
(62:2-8):

Page 62
2     Q.     Why 15 and not younger than 15?
3     A.     You said why 15?
4     Q.     Is there a particular reason why the age
5            starts at 15?
6     A.     We've had customers even earlier, but it's a
7            general -- we feel there is no age limit on
             our
8            products.

Plaintiff’s Designation of N. Menninger (69:20-70:6)

Page 69
20    Q.     So allocated COGS being sold is the cost
             that
21           the manufacturer charges you for a
             particular product;
22           right?
...
25      A.   No.
                                          102
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Page 70
...
2     Q.     Okay. Is it shipping and freight?
3     A.     Yes.
4     Q.     Is landed COGS being sold the cost that the
5            manufacturer charges you for a particular
             product?
6       A.   Yes.

Plaintiff’s Designation of N. Menninger (73:6-25)

Page 73
6     Q.     Merchant fees is a similar allocation from
7            all of TCI's product sold; right?
8     A.     Yes.
9     Q.     Shopify column is also an allocation from
             all
10           of TCI's products sold; right?
11      A.   Yes.
12      Q.   When we say TCI products sold, this is not
13           limited to just skin care, is it? All of TCI's
14           products; right?
15      A.   Yes.
16      Q.   The ad spend column is also an allocation
             for
17           all of TCI's products; right?
18      A.   Yes.
19      Q.   The other overhead column is also an
20           allocation of all TCI's products; right?
21      A.   Yes.
22      Q.   It's allocated not based off of percent of
23           revenue but based off of the total number of
             units
24           sold; right?
25      A.   Yes.

Plaintiff’s Designation of N. Menninger (74:4-6)

Page 74
                                           103
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4       Q.   How did you calculate the final column of
             net
5            income?
6       A.   Revenue minus total costs.

Plaintiff’s Designation of N. Menninger (75:12-76:2)            Defendant’s Objections:

Page 75                                                         Page 75:12–76:2: Irrelevant,
12    Q.     I'll ask about this $222,000 loss.                 Fed. R. Evid. 401, 402; No
13           If this lip balm treatment was not profitable      foundation, Fed. R. Evid.
14           in 2020, why did TCI continue selling this         602
             in 2021?
15      A.   This view -- we don't -- this view is solely       Plaintiff’s Response:
16           for purposes of this matter, of this litigation.
             They                                               Relevant to Defendant’s
17           don't view it this way. We look at numbers         claimed deductible costs, as
             on an all                                          it demonstrates the cost data
18           up basis because we don't allocate costs as        produced by Defendant in
             we run our                                         made-for-litigation
19           business this way.                                 documents are not tied to
20      Q.   Just because this spread sheet shows the           the manufacture of any
21           Liquid Lip Balm Treatment at a $222,000            particular product rather are
             loss, it                                           being treated differently for
22           doesn't mean that TCI treated that product         purposes of litigation than
             as a loss;                                         Defendant’s standard
23           is that correct?                                   practice.
24    A.     Not necessarily, yes.
25    Q.     Is it possible that product was treated as a
Page 76
1            profit product for TCI?
2     A.     It's possible.

Plaintiff’s Designation of N. Menninger (77:11-19)              Defendant’s Objections:

Page 77                                                         Page 77:11-13, 16-19: No
11    Q.     To the best of your knowledge, was the             foundation, Fed. R. Evid.
12           decision to enter into the skin care business      602; Asked and answered
             in 2019,                                           (30(b)(6) transcript page
                                                                17), Fed. R. Evid. 611(a)
                                            104
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13           2020 a decision made solely by Karissa
             Bodnar?                                       Plaintiff’s Response:
...
16      A.   As I stated, the decision was                 Witness testified to basis for
17           ultimately hers, but we had some              knowledge and question
             discussions about it                          does not waste time or
18           at least on an informed basis, but that       harass or unduly embarrass
             decision was                                  the witness. No basis to
19           made by Karissa Bodnar.                       strike under FRE 611(a).

Plaintiff’s Designation of N. Menninger (78:2-23)          Defendant’s Objections:

Page 78                                                    Page 78:2-6, 9-10, 14: No
2     Q.     While other employees at Thrive               foundation, Fed. R. Evid.
             Causemetics,                                  602
3            such as yourself, may get input into Ms.
             Bodnar, are                                   Page 78:16-23: Irrelevant,
4            major company decisions, like whether or      Fed. R. Evid. 401, 402; No
             not to enter                                  foundation, Fed. R. Evid.
5            into the skin care product line, ultimately   602
             100
6            percent Ms. Bodnar's decision?                Plaintiff’s Response:
...
14      A.   The answer is yes.                            Relevant to scope of Ms.
...                                                        Bodnar’s knowledge and
16           About how many employees does TCI have        authority within company,
17           full-time?                                    and in particular her
18      A.   As of today?                                  involvement in the critical
19      Q.   Yes.                                          decision to expand into the
20      A.   Approximately 110.                            skincare market in
21      Q.   And how many part-time employees does         competition with Plaintiff.
             TCI
22           have?
23      A.   One.

        Plaintiff’s Designation of Brendan Gardner-Young Personal Deposition
Plaintiff’s Designation of B. Gardner-Young (6:15-7:1)     Defendant’s Objections:


                                           105
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Page 6                                                   Page 6:15-7:1, 6-7:
15    Q.    Do you know Karissa Bodnar?                  Irrelevant, Fed. R. Evid.
16    A.    Yes.                                         401, 402; Prejudicial, Fed.
17    Q.    And how do you know Ms. Bodnar?              R. Evid. 403
18    A.    I work with her.
19    Q.    Do you have any other relationship with      Plaintiff’s Response:
20          Ms. Bodnar?
21    A.    Yes.                                         Mr. Gardner-Young’s long-
22    Q.    What is that?                                time romantic relationship
23    A.    She's my girlfriend.                         with Defendant’s CEO is
24    Q.    Okay. And how long have you been in a        obviously relevant to
25          romantic relationship with Ms. Bodnar?       witness bias. United States
Page 7                                                   v. Hankey, 203 F.3d 1160,
1     A.    Ten years.                                   1171 (9th Cir. 2000)
                                                         (“Evidence is relevant . . . if
                                                         it has a mere tendency to
                                                         impeach a witness'
                                                         credibility by a showing of
                                                         bias”).
Plaintiff’s Designation of B. Gardner-Young (8:6-7)      Defendant’s Objections:

Page 8                                                   Page 8:6-7: Irrelevant, Fed.
6     Q.    Do you live with Ms. Bodnar?                 R. Evid. 401, 402;
7     A.    Yes.                                         Prejudicial, Fed. R. Evid.
                                                         403

                                                         Plaintiff’s Response:

                                                         Relevant to witness bias.
                                                         United States v. Hankey,
                                                         203 F.3d 1160, 1171 (9th
                                                         Cir. 2000) (“Evidence is
                                                         relevant . . . if it has a mere
                                                         tendency to impeach a
                                                         witness' credibility by a
                                                         showing of bias”).
Plaintiff’s Designation of B. Gardner-Young (18:13-16)   Defendant’s Objections:

Page 18
                                         106
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13    Q.    Do you have any ownership interest in         Page 18:13-14: Irrelevant,
14          Thrive Causemetics?                           Fed. R. Evid. 401, 402
...
16    A.    I do.                                         Plaintiff’s Response:

                                                          Relevant to witness bias.
                                                          United States v. Hankey,
                                                          203 F.3d 1160, 1171 (9th
                                                          Cir. 2000) (“Evidence is
                                                          relevant . . . if it has a mere
                                                          tendency to impeach a
                                                          witness' credibility by a
                                                          showing of bias”).
Plaintiff’s Designation of B. Gardner-Young (18:23-25)

Page 18
23    Q.    What percentage of Thrive Causemetics'
            shares
24          do you own?
25    A.    I'm not sure of the exact percentage.

Plaintiff’s Designation of B. Gardner-Young (31:16-24)

Page 31
16    Q.    Did you ever do any searching in those days
            to
17          see if Thrive Causemetics' name was being
            used by
18          anybody else?
19    A.    Did I ever do searching? No.
20    Q.    Are you aware of anybody else doing
            searching?
21    A.    I'm not aware.
22    Q.    Do you know if anybody did a trademark
            search
23          for Thrive for cosmetics?
24    A.    I -- I'm not aware of that either.

Plaintiff’s Designation of B. Gardner-Young (56:3-6)
                                        107
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Page 56
3     Q.     Did you post ads on Facebook?
4     A.     No.
5     Q.     Did somebody do that for Thrive
             Causemetics?
6       A.   I believe so.

Plaintiff’s Designation of B. Gardner-Young (56:18-20)

Page 56
18    Q.     And what kind of advertising did TCI do on
19           Google?
20    A.     Well, I believe it's AdWords.

Plaintiff’s Designation of B. Gardner-Young (76:8-23)

Page 76
8     Q.     What does "impressions" mean?
9     A.     It depends on the platform, but it's the
10           number of times it was shown to a potential
             customer.
11      Q.   That -- the number of times a particular ad
12           was shown to a customer?
13      A.   Correct.
14      Q.   How about "clicks" next to that, what does
15           that mean?
16      A.   The amount of times it was clicked by that
17           customer that had the impression.
18      Q.   And how about "CTR" next to that, what
             does
19           that mean?
20      A.   It's the percentage of clicks divided by
21           impressions.
22      Q.   What's a CTR, actually?
23      A.   Clickthrough rate.

Plaintiff’s Designation of B. Gardner-Young (77:15-21)


                                         108
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Page 77
15    Q.    How about "CVR," do you know what that
            means?
16    A.    Conversion rate.
17    Q.    And "revenue," do you know what that
            means?
18    A.    Yes.
19    Q.    What?
20    A.    The amount of revenue that TCI got from
            those
21          served ads.

Plaintiff’s Designation of B. Gardner-Young (88:8-15)     Defendant’s Objections:

Page 88                                                   Page 88:11-15: Irrelevant,
8     Q.    Does Thrive Causemetics sell                  Fed. R. Evid. 401, 402;
9           skin care products today?                     Foundation, Fed. R. Evid.
10    A.    Yes.                                          602
11    Q.    What does the term "skin care products"
            mean                                          Plaintiff’s Response:
12          to you?
13    A.    Skin care, I don't know. It's products that   Parties have disputed
14          you would use to -- on your skin to help      whether certain products
            repair and kind                               meet definition of “skincare
15          of preventative.                              products” and this
                                                          testimony is relevant to that
                                                          dispute. Witness has been
                                                          involved with Defendant’s
                                                          products since its inception
                                                          and demonstrated
                                                          knowledge of the subject
                                                          matter.
Plaintiff’s Designation of B. Gardner-Young (91:12-
92:9)

Page 91
12    (Exhibit No. 44 marked.)
...


                                          109
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21      Q.   So when I'm saying -- do you recognize
             what's
22           shown in Exhibit 44?
23    A.     I do.
24    Q.     This is a screenshot of Thrive Causemetics'
25           skin care webpage; is that correct?
Page 92
1     A.     Yeah. I would call it skin care navigation,
2            but yes.
3     Q.     This would be the skin care navigation
             page?
4       A.   Well, you've got the navigation open and
5            you're on a collection page here, so it's two
             different
6            things.
7       Q.   The page that shows the skin care products,
8            would that be the skin care collection page?
9       A.   Yes.

Plaintiff’s Designation of B. Gardner-Young (95:5-10)        Defendant’s Objections:

Page 95                                                      Page 95:5-10: Foundation,
5     Q.     Does TCI sell products to men?                  Fed. R. Evid. 602
6     A.     Yes.
7     Q.     Does TCI target men with any                    Plaintiff’s Response:
             advertisements?                                 Witness has been involved
8       A.   I do not know.                                  with Defendant since its
9       Q.   Does TCI sell skin care products to men?        inception and demonstrated
10      A.   Yes.                                            knowledge of the subject
                                                             matter of advertising.
Defendant’s Counter-Designation of Brendan Gardner-
Young (95:11-18) [only if objections to preceding
designation are overruled]:

Page 95
11    Q.     How do you know?
12    A.     Because we sell to everyone.
13    Q.     Do you receive some information that
             indicates
                                           110
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14          a purchaser is male?
15    A.    No.
16    Q.    Do you know what percentage of
            purchasers of
17          products are men?
18    A.    No.

Plaintiff’s Designation of B. Gardner-Young (95:19-20)   Defendant’s Objections:

Page 95                                                  Page 95:19-20: No
19    Q.    Has TCI ever advertised on Amazon?           foundation, Fed. R. Evid.
20    A.    I believe so.                                602

                                                         Plaintiff’s Response:
                                                         Witness has been involved
                                                         with Defendant since its
                                                         inception and demonstrated
                                                         knowledge of the subject
                                                         matter of advertising.
Plaintiff’s Designation of B. Gardner-Young (96:14-
97:19)

Page 96
14    Q.    Do you know if TCI bids on ad words?
15    A.    I believe we do.
16    Q.    And can someone else outbid you for a
            certain
17          ad word?
18    A.    With my knowledge of the Google ad
            network,
19          yes.
20    Q.    Do you know if TCI has ever bid on the ad
21          word "Thrive"?
22    A.    I do not know.
23    Q.    Do you know if TCI has ever bid on --
24          actually, strike that.
25          Do you know if you can bid on multiple
            words
Page 97
                                        111
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1            as a Google ad word?
2       A.   I believe you can.
3       Q.   Do you know if TCI has ever bid on the ad
             word
4            "Thrive Natural Care"?
5       A.   To my knowledge, we have not bid on that.
6       Q.   How do you know?
7       A.   Based on the report generation for this case.
8       Q.   Did you generate a report for this case?
9       A.   I did.
10      Q.   Where did you generate that report from?
11      A.   Google Ads.
12      Q.   Do you know -- strike that.
13           What did the report you generated -- what
             data
14           did it contain?
15      A.   It contained our Google ad words reporting
             or
16           history.
17      Q.   That would be a history of ad words
             purchased
18           by TCI?
19      A.   Yes.

Plaintiff’s Designation of B. Gardner-Young (97:20)

Page 97
      20(Exhibit No. 45 marked.)

Plaintiff’s Designation of B. Gardner-Young (98:10-22)

Page 98
10    Q.     Brendan, just looking at the
11           first page, do you have the exhibit in front
             of you?
12      A.   I do.
13      Q.   Is this page from the report that you referred
14           to?
15      A.   Yes, I believe so.
                                           112
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16      Q.   All right. Is the format consistent with the
17           report that you ran from Google Ads?
18      A.   From my recollection, yes.
19      Q.   And to your understanding, do these pages
             show
20           Google ad words purchased by TCI?
21      A.   I guess I would clarify it to be keywords,
             but
22           yes.

Plaintiff’s Designation of B. Gardner-Young (99:2-7)

Page 99
2     Q.     So these are Google search keywords; is
             that
3            correct?
4       A.   That's my understanding, yes.
5       Q.   And these are keywords purchased by TCI
             for
6            advertising on Google?
7       A.   Correct.

Plaintiff’s Designation of B. Gardner-Young (100:12-23)

Page 100
12    Q.     And the column stating "clicks," is that the
13           number of people that clicked on an ad?
14    A.     From my understanding, yes, during this
15           timeframe. I don't see a timeframe, but yes.
16    Q.     That was actually one of my questions.
17           What is the timeframe for this report?
18    A.     Are we talking about the report that I
19           generated for this?
20    Q.     Yes.
21    A.     It was all time.
22    Q.     All of TCI's keywords over all time?
23    A.     Yup.



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Plaintiff’s Designation of B. Gardner-Young (103:25-
104:7)

Page 103
25    Q.     Why would an entry have been made on this
Page 104
1            report for a certain keyword?
2     A.     Because it was put into a bidding strategy.
3     Q.     What does that mean?
4     A.     That means that keyword showed up and
             was part
5            of our overall -- or a overall Google
             strategy.
6       Q.   To bid on keywords?
7       A.   To bid on keywords.

Plaintiff’s Designation of B. Gardner-Young (105:17-24)

Page 105
17    Q.     Turning to the second page, Bates number
             ends
18           in 110. Towards the bottom, there's an
             entry, a search
19           keyword "Thrive cleanser."
20           Do you see that?
21      A.   Yes.
22      Q.   Does that mean that at some time
23           Thrive Causemetics bid on the keyword
             "Thrive cleanser"?
24      A.   Yes.

Plaintiff’s Designation of B. Gardner-Young (106:15-21)

Page 106
15    Q.     Moving over in the same
16           column, under Thrive cleanser -- or row,
             sorry. Under
17           the column "clicks" there's a number, 107.
18           Do you see that?
                                          114
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19      A.   Yes.
20      Q.   What does that mean?
21      A.   The number of clicks that keyword resulted
             in.

Plaintiff’s Designation of B. Gardner-Young (108:6-12)

Page 108
6     Q.     But it indicates that an ad with the keyword
7            "Thrive cleanser" was placed on Google; is
             that correct?
8       A.   Yes.
9       Q.   And the impressions column next to it says
10           516. What does that mean?
11      A.   The number of times it showed up on a
             Google
12           property.

Plaintiff’s Designation of B. Gardner-Young (108:25-
109:3)

Page 108
25    Q.     Conversion next to it says 17.68.
Page 109
1            What does that mean?
2     A.     Conversions on the way to find in Google,
             so
3            it was the number of conversions from that
             keyword.

Plaintiff’s Designation of B. Gardner-Young (109:8-         Defendant’s Objections:
110:22)
                                                            Page 109:8-110:19: No
Page 109                                                    foundation, Fed. R. Evid.
8     Q.     Would that mean somebody who made a            602
             purchase
9            from Thrive Causemetics?                       Page 109:20-110:22:
10      A.   That's the most traditional meaning, but       Irrelevant, Fed. R. Evid.
11           there's others as well.                        401, 402; Prejudicial, Fed.
                                          115
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12      Q.   Do you know of any other meaning               R. Evid. 403 (relates solely
             applicable to                                  to abandoned color
13           this report?                                   cosmetics claim)
14      A.   No, because I don't know the meaning of
15           conversion in this report necessarily.         Plaintiff’s Response:
16      Q.   But the most traditional meaning would be      Witness has been involved
17           somebody who clicked on an ad and then         with Defendant since its
             went to your site                              inception and demonstrated
18           and bought a product; is that correct?         knowledge of the subject
19      A.   Correct.                                       matter of advertising and
20      Q.   Going to the next page, Bates number ends      use of advertising
             in                                             keywords. Further,
21           095.                                           testimony is relevant to
22           Are you with me?                               Defendant’s advertising
23    A.     Yes.                                           practices and purchase of
24    Q.     At the very bottom, there's an entry for       keywords to place
25           "Thrive."                                      advertisements that use
Page 110                                                    Plaintiff’s registered
1            Do you see that?                               trademark to advertise and
2     A.     Yes.                                           sell Defendant’s products,
3     Q.     And does that mean that Thrive                 causing confusion and
             Causemetics bid                                damage to Plaintiff. Also
4            on the keyword "Thrive"?                       relevant to harm to Plaintiff
5       A.   Again, I don't know what the phrase search     in that it demonstrates
6            keyword match is, so I can't say how -- that   Defendant bidding on
             we did.                                        keywords drives up cost for
7       Q.   But it appears in this report showing          Plaintiff to bid on keywords
             keywords                                       which consist of its own
8            that Thrive Causemetics bid on; correct?       registered trademark.
9       A.   Yes.
10      Q.   And if you move over to impressions, it
             states
11           252,561.
12           Do you see that?
13      A.   Yes.
14      Q.   Does that indicate that an ad was placed
             using
15           this keyword "Thrive"?
16      A.   Yes.

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17    Q.    And that it was seen 252,561 times?
18    A.    No, not necessarily seen that many times.
19    Q.    That it appeared on the consumers'
            computer
20          that many times?
21    A.    It appeared on the page somewhere that
            many
22          times.

Plaintiff’s Designation of B. Gardner-Young (111:7-13)    Defendant’s Objections:

Page 111                                                  Page 111:7-13: Irrelevant,
7     Q.    Under clicks, it states                       Fed. R. Evid. 401, 402;
            817,265.                                      Prejudicial, Fed. R. Evid.
9           Do you see that?                              403 (relates solely to
10    A.    Yes.                                          abandoned color cosmetics
11    Q.    So am I correct that means that ad with the   claim)
12          keyword "Thrive" was clicked on over
            17,000 times?                                 Plaintiff’s Response:
13    A.    Yes.
                                                          Witness has been involved
                                                          with Defendant since its
                                                          inception and demonstrated
                                                          knowledge of the subject
                                                          matter of advertising and
                                                          use of advertising
                                                          keywords. Further,
                                                          testimony is relevant to
                                                          Defendant’s advertising
                                                          practices and purchase of
                                                          keywords to place
                                                          advertisements that use
                                                          Plaintiff’s registered
                                                          trademark to advertise and
                                                          sell Defendant’s products,
                                                          causing confusion and
                                                          damage to Plaintiff.
Plaintiff’s Designation of B. Gardner-Young (112:8-23)


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Page 112
8     Q.    Below that three rows, there's an entry for
9           Thrive moisturizer.
10          Do you see that?
11    A.    Yes.
12    Q.    And would that indicate TCI bid on the
            keyword
13          "Thrive moisturizer"?
14    A.    Yes. But, again, I don't know the keyword
15          match type there and if that impacts things.
16    Q.    But it states there were 791 impressions.
17          Do you see that?
18    A.    I do see that.
19    Q.    And that indicates that an ad was placed
            using
20          the keywords "Thrive moisturizer;" correct?
21    A.    Yes.
22    Q.    And it was clicked on 161 times?
23    A.    Correct.

Plaintiff’s Designation of B. Gardner-Young (124:17-24)

Page 124
17    Q.    Has TCI used the phrase "Thrive tribe" in
            any
18          context?
19    A.    Yes.
20    Q.    What context?
21    A.    I have seen it on social media.
22    Q.    How have you seen it on social media?
23    A.    I remember a few posts where that was
            called
24          out.

Plaintiff’s Designation of B. Gardner-Young (125:8-12)

Page 125
8     Q.    Is TCI still using the phrase "Thrive tribe"
9           in any context?
                                          118
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10    A.    No.
11    Q.    Do you know when that stopped?
12    A.    Middle to early last year.

Plaintiff’s Designation of B. Gardner-Young (125:24-
126:1)

Page 125
24    Q.    Has TCI used the phrase "Thrive lab" in any
25          context?
Page 126
1     A.    Yes.

Plaintiff’s Designation of B. Gardner-Young (126:23-      Defendant’s Objections:
127:3)
                                                          Page 126:23-127:3: No
Page 126                                                  foundation, Fed. R. Evid.
23    Q.    In your view, is the word "Thrive"            602
            important
24          to TCI's brand?                             Plaintiff’s Response:
25    A.    It's part of our name; so...                Witness has been involved
Page 127                                                with Defendant since its
1     Q.     Does that mean it's important to the TCI   inception and demonstrated
2            brand?                                     understanding of
3     A.     Yes.                                       Defendant’s branding
                                                        practices.
Plaintiff’s Designation of B. Gardner-Young (129:19-21) Defendant’s Objections:

Page 129                                                  Page 129:19-21: Irrelevant,
19    Q.    At some point, did TCI have a relationship    Fed. R. Evid. 401, 402;
20          with Goldman Sachs?                           Prejudicial, Fed. R. Evid.
21    A.    Yes.                                          403

                                                          Plaintiff’s Response:
                                                          Relevant to lay foundation
                                                          for following questions
                                                          relating to potential
                                                          expansion or acquisition of
                                                          Defendant by a much larger
                                        119
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                                                           company, which is directly
                                                           relevant to expansion of
                                                           product lines factor of
                                                           Sleekcraft test.
Plaintiff’s Designation of B. Gardner-Young (130:1-6)      Defendant’s Objections:

Page 130                                                   Page 130:1-6: Irrelevant,
1     Q.     Were -- what kind of business did TCI do      Fed. R. Evid. 401, 402;
             with                                          Prejudicial, Fed. R. Evid.
2            Goldman Sachs?                                403
3       A.   It was more exploration; not necessarily
4            business with them.                           Plaintiff’s Response:
5       Q.   Were you involved in those discussions?       Relevant to lay foundation
6       A.   I was.                                        for following questions
                                                           relating to potential
                                                           expansion or acquisition of
                                                           Defendant by a much larger
                                                           company, which is directly
                                                           relevant to expansion of
                                                           product lines factor of
                                                           Sleekcraft test.
Plaintiff’s Designation of B. Gardner-Young (130:19-       Defendant’s Objections:
131:12)
                                                           Page 130:19-25–131:1-12:
Page 130                                                   Irrelevant, Fed. R. Evid.
19    Q.     Was there discussion of TCI, as a company,    401, 402; Prejudicial, Fed.
20           being acquired by any other entity?           R. Evid. 403
21    A.     There was exploration of that.
22    Q.     Were any acquirers discussed in particular?   Plaintiff’s Response:
23    A.     Potential ones?                               Relevant to Defendant’s
24    Q.     Correct.                                      plans for expansion or
25    A.     Yes.                                          acquisition of Defendant by
Page 131                                                   a much larger company,
1     Q.     Who?                                          which is directly relevant to
2     A.     Large beauty conglomerates.                   expansion of product lines
3     Q.     Were names discussed?                         factor of Sleekcraft test.
4     A.     Yeah, the market was explored.
5     Q.     What conglomerates were explored as
6            potentially acquiring TCI?
                                         120
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7       A.   L'Oreal, as an example.
8       Q.   Who else?
9       A.   Estée Lauder is another big example from
             the
10           beauty industry.
11      Q.   Who else?
12      A.   The other beauty ones, Unilever.




                                        121
